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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

  IN RE: FRAGRANCE DIRECT               Case No. 2:23-cv-02174-WJM-JSA
  PURCHASER ANTITRUST
  LITIGATION                            Jury Trial Demanded



          DIRECT PURCHASERS’ CONSOLIDATED COMPLAINT
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        “Odors have a power of persuasion stronger than that of words, appearances,
  emotions, or will. The persuasive power of an odor cannot be fended off, it enters
    into us like breath into our lungs, it fills us up, imbues us totally. There is no
           remedy for it . . . He who ruled scent ruled the hearts of men.”1

         Plaintiffs B & E Associates, Inc., Cospro Development Corp., Demeter F.L.,

  Inc., Hanna’s Candle Company, and Our Own Candle Company, Inc. (“Plaintiffs”),

  individually and on behalf of all others similarly situated (the “Class,” as defined

  below), upon personal knowledge as to the facts pertaining to themselves, and upon

  information and belief as to all other matters, and based on the investigation of

  counsel, brings this class action for damages, injunctive relief, and other relief

  pursuant to the federal antitrust laws and demands a trial by jury on all matters so

  triable.

                             NATURE OF THE ACTION

         1.    This lawsuit arises from an unlawful conspiracy to fix, raise, or

  maintain the prices for fragrance ingredients and fragrance compounds (collectively,

  “Fragrance Products” (further defined below)) by Defendants Firmenich

  International SA, Givaudan SA, International Flavors & Fragrances Inc. (“IFF”),

  and Symrise AG, and certain entities owned or controlled by them, as described

  below (collectively, “Defendants”) in violation of Sections 1 and 3 of the Sherman

  Act (15 U.S.C. §§ 1, 3).

         2.    Companies, such as Plaintiffs and the Class, add Fragrances Products

  (scent) to consumer goods such as candles, soaps, lotions, cosmetics, perfumes,

  detergents, fabric care, and household cleaners to make those products smell


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  pleasant. A product’s smell helps establish a positive olfactory (and emotional)

  association with the product. Fragrance Products are therefore a key input in such

  consumer goods.

        3.     Defendants are the four largest producers of Fragrance Products,

  controlling nearly two-thirds of the global and U.S. markets. Defendants acquire

  raw materials and convert them into Fragrance Products, before selling them on to

  companies, such as Plaintiffs and other Class members.          Defendants’ sale of

  Fragrance Products is a multi-billion dollar business in the United States.

        4.     Beginning at least as early as January 1, 2018, Defendants entered into

  an unlawful agreement to increase the prices of Fragrance Products charged to

  Plaintiffs and the Class. Upon information and belief, Defendants’ conspiracy to fix

  prices for Fragrance Products began in response to increased costs of the raw

  materials needed to manufacture Fragrance Products, which threatened Defendants’

  profitability. To protect their profits, Defendants conspired to restrain the supply,

  coordinate the prices, and allocate the markets for Fragrance Products. Tellingly,

  however, after raw materials prices began to subside, Defendants continued to

  increase the prices of Fragrance Products in a coordinated fashion.

        5.     Plaintiffs learned of Defendants conspiracy no earlier than March 7,

  2023. On that date, the European Commission (“EC”) announced that it had carried

  out dawn raids at several suppliers and an industry association in the Fragrance



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  Products industry in coordination with the Swiss Competition Commission

  (“COMCO”), the U.S. Department of Justice Antitrust Division (“DOJ”), and the

  U.K. Competition and Markets Authority (“CMA”).1

        6.    The same day, CMA provided further insight into the dawn raids,

  announcing that it “has reason to suspect anti-competitive behaviour [sic] has taken

  place involving suppliers of Fragrance Products for use in the manufacture of

  consumer products such as household and personal care products,” and named

  Firmenich International SA, Givaudan SA, International Flavors & Fragrances Inc.,

  and Symrise AG as the subjects of the investigation.2

        7.    The next day, COMCO revealed that the dawn raids were based on

  “indications that several undertakings active in the production of fragrances have

  violated cartel law.”3 COMCO identified the same Defendants as targets of the dawn

  raids and disclosed that “[t]here are suspicions that these undertakings have


  1
         European Commission Press Release IP/23/1532, Antitrust: Commission
  Confirms Unannounced Inspections in the Fragrance Sector (Mar. 7, 2023),
  https://ec.europa.eu/commission/presscorner/detail/en/ip_23_1532.
  2
         CMA Launches Investigation into Fragrances and Fragrances Ingredients,
  CMA COMPETITION & MARKETS AUTHORITY (last updated Mar. 8, 2023),
  https://www.gov.uk/government/news/cma-launches-investigation-into-fragrances-
  and-fragrance-ingredients.
  3
         The Swiss Competition Commission Press Release, Frank Stüssi & Andrea
  Graber Cardinaux, COMCO Investigates Possible Collusions in the Fragrance
  Market (Mar. 8, 2023), https://www.weko.admin.ch/weko/en/home/medien/press-
  releases/nsb-news.msg-id-93502.html.


                                           3
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  coordinated their pricing policy, prohibited their competitors from supplying certain

  customers and limited the production of certain fragrances.”4

        8.     In a May 10, 2023 filing with the U.S. Securities and Exchange

  Commission (“SEC”), IFF acknowledged the investigation and disclosed that it had

  received a criminal grand jury subpoena from the DOJ,5 meaning the DOJ is

  considering a criminal prosecution against IFF and/or its co-conspirators. According

  to Section F.1 of Chapter 3 of the 2014 edition of the DOJ’s Antitrust Division

  Manual, “staff should consider carefully the likelihood that, if a grand jury

  investigation developed evidence confirming the alleged anticompetitive conduct,

  the Division would proceed with a criminal prosecution.” Similarly, Firmenich also

  disclosed that it received a subpoena from the DOJ.6

        9.     On January 17, 2024, CMA revealed that it had extended its probe of

  Givaudan, Firmenich, and IFF to include allegations that they engaged in further

  anticompetitive behavior in the form of so-called no-poach agreements.

  Specifically, CMA stated that the companies may have engaged in unlawful



  4
        Id.
  5
        International Flavors & Fragrances Inc., Quarterly Report (Form 10-Q) (May
  10, 2023).
  6
         Firmenich, Financial Statements 2023 (June 30, 2023), at 48,
  https://www.dsm-firmenich.com/content/dam/dsm-firmenich/corporate/documents/
  firmenich-sa-annual-report-fy2023.pdf.


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  coordination involving reciprocal arrangements relating to the hiring or recruitment

  of certain staff involved in the supply of Fragrance Products.7

        10.    As a direct result of Defendants’ conspiracy, Plaintiffs directly

  purchased Fragrance Products from one or more Defendants at artificially inflated

  prices and were thereby injured in their business or property. Plaintiffs bring this

  action on behalf of themselves and a Class of direct purchasers of Fragrance Products

  during the period from January 1, 2018 until the effects of the conspiracy have

  ceased (the “Class Period”) as defined in more detail below.

                           JURISDICTION AND VENUE

        11.    Plaintiffs bring this class action lawsuit pursuant to Sections 4 and 16

  of the Clayton Act (15 U.S.C. §§ 15 and 26), to recover damages suffered by the

  Class and the costs of suit, including reasonable attorneys’ fees; to enjoin

  Defendants’ anticompetitive conduct; and for such other relief as is afforded under

  the antitrust laws of the United States for Defendants’ violations of Sections 1 and 3

  of the Sherman Act (15 U.S.C. §§ 1, 3).

        12.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§

  1331, 1337, and Sections 4 and 16 of the Clayton Act (15 U.S.C. §§ 15(a), 26).



  7
         Suspected anti-competitive conduct in relation to fragrances and fragrance
  ingredients (51257), CMA COMPETITION & MARKETS AUTHORITY (updated January
  17, 2024), https://www.gov.uk/cma-cases/suspected-anti-competitive-conduct-in-
  relation-to-fragrances-and-fragrance-ingredients-51257.


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        13.     Venue is proper in this District pursuant to Sections 4, 12, and 16 of the

  Clayton Act (28 U.S.C. §§ 15, 22, and 26), and pursuant to 28 U.S.C. § 1391(b), (c),

  and (d), because, at all times relevant to the Complaint, one or more of the

  Defendants resided, transacted business, was found, or had agents in this District.

                                        PARTIES

        A.      Plaintiffs

        14.     Plaintiff B & E Associates, Inc. (d/b/a Keystone Candle Company) is a

  Pennsylvania corporation with its principal place of business located at 7241 Paxton

  Street, Harrisburg, Pennsylvania 17111. During the Class Period, Plaintiff B & E

  Associates, Inc. directly purchased Fragrance Products from one or more

  Defendants.

        15.     Plaintiff Cospro Development Corp. is a Pennsylvania corporation that

  manufacturers beauty products, hair-care products, and cosmetics.               Cospro

  Development Corp. is headquartered at 105 Washington Avenue, Reading,

  Pennsylvania 19601. During the Class Period, Plaintiff Cospro Development Corp.

  directly purchased Fragrance Products from one or more Defendants.

        16.     Plaintiff Demeter F.L., Inc. (d/b/a Demeter Fragrance Library) is a New

  York corporation that designs and sells a library of fragrances. Demeter F.L., Inc.

  is headquartered at 12 North Gate Road, Great Neck, New York 11023. During the




                                             6
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  Class Period, Plaintiff Demeter F.L., Inc. directly purchased Fragrance Products

  from one or more Defendants.

        17.   Plaintiff Hanna’s Candle Company is an Arkansas company located at

  3655 South School Avenue, Fayetteville, Arkansas 72701.            Hanna’s Candle

  Company is one of the largest candle companies in the United States and

  manufactures and sells candles, potpourri, air fresheners, and room sprays. During

  the Class Period, Plaintiff Hanna’s Candle Company directly purchased Fragrance

  Products from one or more Defendants.

        18.   Plaintiff Our Own Candle Company, Inc. is a Pennsylvania corporation

  with its principal place of business located at 2779 North Road, Findley Lake, New

  York 14736. Our Own Candle Company, Inc. is engaged in the business of the

  manufacturing and sale of candles, soaps, fragrance oils, room sprays, aromatherapy,

  and related products. During the Class Period, Plaintiff Our Own Candle Company,

  Inc. directly purchased Fragrance Products from one or more Defendants.

        19.   As a direct result of Defendants’ conspiracy alleged in this Complaint,

  each Plaintiff and the Class members suffered damages because they paid more for

  Fragrance Products than they would have in the absence of Defendants’ conspiracy.

        B.    Defendants

        20.   IFF Defendant. Defendant International Flavors & Fragrances Inc.

  (“IFF”) is a New York corporation that manufactures and sells flavors and



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  fragrances. IFF maintains its principal place of business at 521 West 57th Street,

  New York, New York 10019. IFF is listed on the New York Stock Exchange under

  the ticker symbol IFF. During the Class Period, IFF manufactured and/or sold

  Fragrance Products to purchasers in the United States directly or through

  predecessors, affiliates, or subsidiaries.

        21.       Givaudan Defendants.         Defendant Givaudan SA is a Swiss

  corporation that manufactures and sells flavors and fragrances. Givaudan SA is

  headquartered at Chemin de la Parfumerie 5, 1214 Vernier, Switzerland. Givaudan

  SA is listed on the SIX Swiss Exchange under the ticker symbol GIVN. Givaudan

  SA has extensive operations throughout the United States, either directly or through

  its wholly-owned and controlled subsidiaries and affiliates. During the Class Period,

  Givaudan SA manufactured and/or sold Fragrance Products to purchasers in the

  United States and elsewhere, directly or through predecessors, affiliates, or

  subsidiaries.

        22.       Defendant Givaudan Fragrances Corporation is a U.S. subsidiary of

  Givaudan SA incorporated under the laws of Delaware. Givaudan Fragrances

  Corporation maintains its principal place of business at 717 Ridgedale Avenue, East

  Hanover, New Jersey 7936.          During the Class Period, Givaudan Fragrances

  Corporation manufactured and/or sold Fragrance Products to purchasers in the

  United States directly or through predecessors, affiliates, or subsidiaries. Givaudan



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  SA controls Givaudan Fragrances Corporation both generally and with respect to the

  conduct of Givaudan Fragrances Corporation in furtherance of the unlawful acts

  alleged in this Complaint.

        23.    Defendant Ungerer & Company, Inc. (“Ungerer”) is a Delaware

  corporation with its principal place of business located at 4 Ungerer Way, Lincoln,

  Park, New Jersey 07035.       Ungerer and its related companies are U.S.-based

  fragrance developers and suppliers that focus predominantly on natural ingredients

  for fragrance and flavor creation, as well as for end customers of such specialties.8

  Givaudan SA acquired Ungerer in 2020, and since then has operated it as wholly-

  owned subsidiary.9 Since the acquisition, Givaudan SA has controlled Ungerer both

  generally and with respect to the conduct of Ungerer in furtherance of the unlawful

  acts alleged in this Complaint.

        24.    Defendant Custom Essence LLC (“Custom Essence”) is a New Jersey

  corporation with its principal place of business located at 53 Veronica Ave.,

  Somerset, New Jersey 00873. Custom Essence specializes in the formulation of

  natural fragrance and creates perfumes for customers. Givaudan SA acquired

  Custom Essence in 2021, and since then has operated it as a wholly-owned


  8
         Givaudan completes acquisition of Ungerer, GIVAUDAN (Feb. 20, 2020),
  https://www.givaudan.com/media/media-releases/2020/givaudan-completes-
  acquisition-ungerer.
  9
        Id.


                                           9
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  subsidiary. Since the acquisition, Givaudan SA has controlled Custom Essence both

  generally and with respect to the conduct of Custom Essence in furtherance of the

  unlawful acts alleged in this Complaint.      Givaudan SA, Givaudan Fragrances

  Corporation, Ungerer, and Custom Essence are collectively referred to as

  “Givaudan.”

        25.       Firmenich Defendants. Defendant DSM-Firmenich AG is a Swiss

  corporation that manufactures and sells flavors and fragrances. DSM-Firmenich AG

  is headquartered at Wurmisweg 576 Kaiseraugst, AG 4303 Switzerland and is listed

  on the Euronext Amsterdam stock exchange under the ticker symbol DSFIR. DSM-

  Firmenich AG was created by the merger of DSM Group and Firmenich

  International SA, which was completed on May 8, 2023. DSM-Firmenich AG has

  extensive operations throughout the United States, either directly or through its

  wholly-owned and controlled subsidiaries and affiliates. During the Class Period,

  DSM-Firmenich AG manufactured and/or sold Fragrance Products to purchasers in

  the United States and elsewhere, directly or through predecessors, affiliates, or

  subsidiaries.

        26.       Defendant Firmenich International SA is a Swiss corporation that

  manufactures and sells flavors and fragrances. Firmenich is headquartered at Rue

  de la Bergère 7, 1242 Satigny, Switzerland. Prior to its merger with DSM Group on

  May 8, 2023, Firmenich International SA had extensive operations throughout the



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  United States, either directly or through its wholly-owned and controlled

  subsidiaries and affiliates. During the Class Period, Firmenich International SA

  manufactured and/or sold Fragrance Products to purchasers in the United States and

  elsewhere, directly or through predecessors, affiliates, or subsidiaries.

        27.    Defendant Firmenich Inc. is a U.S. subsidiary of DSM-Firmenich AG

  incorporated under the laws of Delaware. Firmenich Inc. maintains its principal

  place of business at 250 Plainsboro Road, Plainsboro, New Jersey 08536. During

  the Class Period, Firmenich Inc. manufactured and/or sold Fragrance Products to

  purchasers in the United States, directly or through predecessors, affiliates, or

  subsidiaries. During the relevant period, Firmenich International SA and/or DSM-

  Firmenich AG have controlled Firmenich Inc. both generally and with respect to the

  conduct of Firmenich Inc. in furtherance of the unlawful acts alleged in this

  Complaint.

        28.    Defendant Agilex Flavors & Fragrances, Inc. (“Agilex”) is a U.S.

  subsidiary of DSM-Firmenich AG incorporated under the laws of Delaware. Agilex

  maintains its principal place of business at 140 Centennial Avenue, Piscataway, New

  Jersey 08854. During the Class Period, Agilex manufactured and/or sold Fragrance

  Products to purchasers in the United States, directly or through predecessors,

  affiliates, or subsidiaries.   Firmenich International SA announced that it had

  completed the acquisition of Agilex on July 11, 2017. On May 9, 2023, Agilex



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  announced that its new parent entity would be DSM-Firmenich AG. Since the

  acquisition, Firmenich International SA and/or DSM-Firmenich AG have controlled

  Agilex both generally and with respect to the conduct of Agilex in furtherance of the

  unlawful acts alleged in this Complaint.         DSM-Firmenich AG, Firmenich

  International SA, Firmenich Inc., and Agilex are collectively referred to as

  “Firmenich.”

         29.    Symrise Defendants. Defendant Symrise AG is a German company

  that manufactures and sells flavors and fragrances. It was created in 2003 by the

  merger of Bayer subsidiary Haarmann & Reimer and Dragoco, both of which were

  based in Holzminden, Germany. Symrise AG maintains a principal place of business

  at Mühlenfeldstraße 1, 37603 Holzminden, Germany. Symrise AG states that “Our

  Corporate Center is located in Holzminden, Germany. Key corporate functions such

  as governance and control, communications and administration are located here.”10

  Symrise AG has extensive operations throughout the United States, either directly

  or through its wholly-owned and controlled subsidiaries and affiliates. During the

  Class Period, Symrise AG manufactured and/or sold Fragrance Products to

  purchasers in the United States and elsewhere, directly or through predecessors,

  affiliates, or subsidiaries.



  10
       Symrise,    Global      Locations      Page,     https://www.symrise.com/our-
  company/global-locations/ (last visited Jan. 9, 2024).


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        30.    Defendant Symrise Inc. is a U.S. subsidiary of Symrise AG

  incorporated under the laws of New Jersey. Symrise Inc. maintains its principal

  place of business at 300 North Street, Teterboro, New Jersey 07608. During the

  Class Period, Symrise Inc. manufactured and/or sold Fragrance Products to

  purchasers in the United States, directly or through predecessors, affiliates, or

  subsidiaries. Symrise AG controls Symrise Inc. both generally and with respect to

  the conduct of Symrise Inc. in furtherance of the unlawful acts alleged in this

  Complaint.

        31.    Defendant Symrise US LLC is a subsidiary of Symrise AG, and is

  headquartered in Teterboro New Jersey, with offices located at 300 North Street,

  Teterboro, New Jersey 07608. Symrise US LLC is a limited liability company

  organized and existing under the laws of the State of Delaware. Symrise US LLC

  transacts or has transacted business in this District, and is engaged in the

  development, manufacture, and sale of flavors and fragrances. Symrise AG controls

  Symrise US LLC both generally and with respect to the conduct of Symrise US LLC

  in furtherance of the unlawful acts alleged in this Complaint. Symrise AG, Symrise

  Inc., and Symrise US LLC are collectively referred to as “Symrise.”

        32.    Each of the entities within a corporate family carried out the business

  of manufacturing, distributing, marketing, and/or selling Fragrance Products in

  coordination with their parents, subsidiaries, siblings, and related entities.



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         C.     Agents and Co-Conspirators

         33.    The acts alleged against the Defendants in this Complaint were

  authorized, ordered, or done by their officers, agents, employees, or representatives,

  while actively engaged in the management and operation of Defendants’ businesses

  or affairs.

         34.    Various persons and/or firms not named as Defendants herein may have

  participated as co-conspirators in the violations alleged herein and may have

  performed acts and made statements in furtherance thereof.

         35.    Each Defendant acted as the principal, agent, or joint venture of, or for,

  other Defendants with respect to the acts, violations, and common course of conduct

  alleged by Plaintiffs.

                              FACTUAL ALLEGATIONS

         A.     The Fragrance Industry
         36.    A product’s scent helps establish a positive and familiar olfactory

  response to the product. Smells are also linked to a product’s functional use. For

  example, lemon or other citrus scents are often associated with cleanliness, and mint

  with freshness. Scents can also convey status; the smell of leather may signify

  luxury or richness. Research shows that most consumers “consider scent an essential




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  and necessary component of everyday household products.”11 Indeed, the CEO of

  IFF’s Scent division, Nicolas Mirzayantz, stated that “scent continues to be the #1

  attribute driving purchase intent and even more importantly, the purchase repeat

  factor.”12

         37.   Consumer goods get their scents from fragrances. Broadly speaking, a

  fragrance is a chemical mixture that has a smell or odor.13 Fragrances are derived

  from ingredients (natural or synthetic) and/or compounds. The role of a fragrance

  is to impart a pleasant odor to the finished product and deliver a pleasant experience

  to the end user. Fragrances are also used to disguise disfavored smells in the product,

  such that even products labelled as “unscented” may contain fragrances to mask the

  unpleasant smell of other ingredients, without giving the product a distinct scent.

         38.   Manufacturers of consumer goods, like Plaintiffs and the Class,

  generally do not produce their own fragrances. Instead, they purchase fragrance

  ingredients and fragrance compounds from fragrance manufacturers, principally



  11
         Rachel S. Herz et al., A Three-Factor Benefits Framework for Understanding
  Consumer Preference for Scented Household Products: Psychological Interactions
  and Implications for Future Development, Cogn. Research 7, 28 (April 1, 2022),
  https://cognitiveresearchjournal.springeropen.com/articles/10.1186/s41235-022-
  00378-6.
  12
        International Flavor & Fragrances Inc. Scent Learning Lab, Edited Transcript
  of conference call or presentation from April 5, 2021.
  13
       IFRA, What is a Fragrance?, https://ifrafragrance.org/fragrance-and-
  you/what-is-a-fragrance (last visited Jan. 9, 2024).


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  Defendants, for incorporation into various consumer products. Defendants, in turn,

  source their raw materials further upstream.

               1.     The Production of Fragrances

        39.    The fragrance industry can be broken down into three segments. First,

  there are the upstream suppliers of the raw materials used in the production of

  fragrances. As described in greater detail below, these raw materials include both

  natural and synthetic materials. Next, there are the manufacturers of fragrances,

  including Defendants, who use the raw materials to create fragrance ingredients and,

  as described in greater detail below, blend those fragrance ingredients into fragrance

  compounds. Finally, the downstream part of the industry consists of the producers

  of various consumer products that embody the fragrance ingredients and

  compounds. As discussed in greater detail below, these products generally fall into

  four distinct categories – fine fragrances (perfumes and colognes); fabric care

  (laundry detergents, fabric softeners, and specialty laundry products); home care

  (household cleaners, dishwashing detergents, and air fresheners); and body care

  (personal wash, hair care, and toiletries products).14




  14
         International Flavors & Fragrances Inc., 2021 Annual Report (Form 10-K),
  at 4 (Feb. 28, 2022).


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        40.    The following chart from a report by the industry trade association

  International Fragrance Association illustrates the three parts of the market: 15




                      a.    Upstream Suppliers

        41.    Starting in the upstream part of the industry, companies produce the

  raw materials for fragrances. These raw material derive from both natural and

  synthetic sources. Natural raw materials are extracted from natural sources, such as

  plants, trees, or animals, by physical or biotechnological procedures.

        42.    Synthetic raw materials are created in a lab and manufactured on an

  industrial scale. More than 95% of the chemicals in synthetic fragrances are derived




  15
        The Value of Fragrance, A Socio-Economic Contribution Study for the Global
  Fragrance Industry, 11, IFRA (June 2019), https://ifrafragrance.org/docs/default-
  source/policy-documents/pwc-value-of-fragrance-report-2019.pdf?sfvrsn=b3d049c
  8_0#page=13.


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  from petrochemicals, such as phthalates, synthetic musks, parabens, and benzene

  derivatives.16

                     b.     Fragrance Ingredient and Compound Production

        43.    Defendants source natural and synthetic raw materials for their

  fragrance businesses.    Within their business, Defendants make and sell both

  “fragrance ingredients” and “fragrance compounds” (collectively, “Fragrance

  Products”). Defendants thus occupy a critical point of the supply chain, producing

  fragrances that are essential to many consumer products.

        44.    A fragrance ingredient is any basic substance used for its odor

  properties or malodor coverage as a component of a fragrance mixture, which can

  be natural or synthetic. Per Defendant IFF’s 2021 Annual Report, “[f]ragrance

  ingredients are natural and synthetic, and active and functional ingredients that are

  used internally and sold to third parties, including competitors, for use in the

  preparation of compounds.”17

        45.    Using natural raw materials, fragrance manufacturers use various

  methods to extract the aromatics to create “natural” fragrance ingredients. The name

  for a specific natural fragrance ingredient stems from a combination of the raw




  16
         Synthetic Fragrances, UP FRONT COSMETICS (May                    14,   2020),
  https://upfrontcosmetics.ca/blogs/be-upfront/synthetic-fragrances.
  17
        IFF’s 2021 Annual Report, Supra note 14 at 5.


                                           18
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  material and the method of extraction. Thus, the same raw material may result in an

  essential oil, absolute, concrete, pomade, or tincture depending upon the extraction

  method.18 For example, the oil obtained by steam distillation of lavender is called

  essential oil of lavender or, simply, lavender oil.19

         46.    Naturally-derived fragrance ingredients are temperamental. Much like

  grapes used to make wine, weather and other environmental impacts may affect the

  strength or scent of the raw materials used in fragrance ingredients. Additionally,

  these raw materials may negatively interact with other ingredients in consumer

  products. Jasmine oil is known to cause discoloration in soaps.20

         47.    Defendants also make synthetic ingredients, which can either be nature-

  identical or artificial.

         48.    Nature-identical synthetic fragrances are made with synthetically

  derived ingredients to have the same key chemicals that define a fragrance found in

  nature and will be judged to have a similar odor. Some synthetic ingredients slightly

  modify the structural features of the natural material to make them less susceptible

  to degradation or interaction with other ingredients. For instance, the synthesis of


  18
       Claire Guillemin, LAW & ODEUR: FRAGRANCE PROTECTION IN THE FIELDS OF
  PERFUMERY AND COSMETICS 43-44 (1st ed. 2016) (citation omitted).
  19
        Charles S. Sell, “Perfumery Materials of Natural Origin,” The Chemistry of
  Fragrances: From Perfumer to Consumer 69 (2d ed. 2006).
  20
         Id. at 81.


                                             19
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  jasmine is easier and more amendable to commercial products if slight modifications

  are made to the molecular chemistry.21 Artificial fragrances are made from synthetic

  ingredients and have a scent and/or chemical composition not known to be found in

  nature.

        49.    Defendants sell fragrance ingredients to each other, to other fragrance

  compound makers, and also to consumer product manufacturers, including Class

  members.

        50.    As set forth in Defendant IFF’s 2021 Annual Report, fragrance

  compounds are “combinations of multiple fragrance ingredients that are ultimately

  used by our customers in their consumer goods.”22 Compounding a fragrance

  generally means making a formulation of more than one ingredient.

        51.    Numerous organizations have developed classifications of fragrances.

  In 1990, the French Society of Perfumers published its “Classification des Parfums”

  which included the following families: citrus, floral, fougere, chypre, woody, amber

  and leather.23



  21
        Id. at 82.
  22
        IFF’s 2021 Annual Report, Supra note 14 at 4.
  23
         Mans Boelens & Ronald Boelens, “Classification of Perfumes and
  Fragrances,” 26 Perfumer & Flavorist 28, 32 (Nov./Dec. 2001),
  https://img.perfumerflavorist.com/files/base/allured/all/document/2016/02/pf.PF_2
  6_06_028_10.pdf.


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        52.       Likewise, Defendants categorized their fragrances in substantially

  similar manner. For example, Defendant Givaudan’s website categorizes fragrances

  as follows:24




        53.       The other Defendants use substantially similar descriptions for the

  fragrances they offer to customers, including terms, such as, amber, citrus, floral,

  fresh, green musk, spicy, and woody.25




  24
         Shaping Tomorrow’s Signature Fragrances with Science, Givaudan,
  https://www.givaudan.com/fragrance-beauty/ingredients/fragrance-molecules.
  25
         See International Flavors & Fragrance, Fragrance Ingredients Online
  Compendium, https://www.iff.com/portfolio/products/fragrance-ingredients/online
  -compendium (last accessed Feb. 5, 2024); Givaudan, Interactive fragrance index,
  https://www.givaudan.com/fragrance-beauty/ingredients/fragrance-molecules (last
  accessed Feb. 5, 2024); Firmenich, Ingredients Perfumery Catalogue, Main
  Olfactive Family, https://www.firmenich.com/ingredients/ingredient-perfumery-
  catalog (last accessed Feb 5, 2024); and Symrise, Scent and Care, Aroma Molecules,
  Ingredient Finder, https://www.symrise.com/scent-and-care/aroma-molecules/
  ingredient-finder/ (last accessed Feb. 5, 2024).


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        54.    The production of fragrance ingredients and fragrance compounds

  occurs at different facilities around the world, including in the United States. Within

  the United States, New Jersey is a primary production site for the fragrance industry.

  Givaudan manufactures fragrances in Mount Olive, New Jersey; IFF in Hazlet;

  Firmenich in Princeton; and Symrise in Teterboro. Fragrance ingredients and

  compounds manufactured in New Jersey are sold throughout the United States.

  Defendants also import fragrance ingredients and compounds manufactured from

  their foreign operations into the United States for sale to customers.

        55.    Fragrances are a multi-billion dollar global industry. Annual sales of

  fragrance ingredients were approximately $9.1 billion in 2022.26 Annual sales of

  fragrance compounds were valued at $35.08 billion in 2021.27 In the United States,

  revenues in the fragrance market are estimated to reach $8.71 billion in 2023.28


  26
        Ltd, R. and M., Fragrance Ingredients Market: Global Industry Trends, Share,
  Size, Growth, Opportunity and Forecast 2023-2028, Research and Markets (Jan.
  2023),           https://www.researchandmarkets.com/reports/5732797/fragrance-
  ingredients-market-global-industry.
  27
         Research and Markets, Global Fragrance Market Report to 2027 -
  Accelerating E-Commerce Channels and Increasing Demand for Hygiene Products
  are Driving Growth, GLOBENEWSWIRE NEWS ROOM (Nov. 10, 2022),
  https://www.globenewswire.com/en/news-release/2022/11/10/2552774/28124/en/
  Global-Fragrance-Market-Report-to-2027-Accelerating-E-Commerce-Channels-
  and-Increasing-Demand-for-Hygiene-Products-are-Driving-Growth.html.
  28
         Stylumia, 2023 Beauty Trends: the Allure of Scents, MEDIUM (Jan. 13, 2023),
  https://medium.com/@Stylumia/2023-beauty-trends-the-allure-of-scents-
  87ba629c145d.


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  Defendants collectively sell billions of dollars worth of fragrance ingredients and/or

  compounds in the United States each year.29

                     c.     Downstream Customers

        56.    Fragrance ingredients and fragrance compounds that Defendants

  produce are sold to Plaintiffs and the Class for use in consumer products. Fragrances

  are most often shipped as oils, but on some occasions are shipped as powders. As

  IFF notes, the industry separates the use of fragrances into several end-use

  categories, including fine fragrances (perfumes and colognes); fabric care (laundry

  detergents, fabric softeners, and specialty laundry products); home care (household

  cleaners, dishwashing detergents, and air fresheners); and body care (personal wash,

  hair care, and toiletries products).30 The following chart provides an illustrative

  example:31




  29
        IFF’s 2021 Annual Report, Supra note 14; IAL Consultants, An Overview of
  the Global Flavours & Fragrances Market, 13th Edition (Sept. 2022).
  30
        IFF’s 2021 Annual Report, supra note 14 at 4.
  31
        An Overview of the Global Flavours & Fragrances Market, supra note 29.


                                           23
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        57.    How a product smells – or its fragrance in industry parlance – is a key

  driver of consumer preference both at the point of purchase and throughout its use.

  As a result of the critical importance of fragrances to customer purchases – i.e., the

  ability of a product’s smell to drive sales for that product – fragrances are

  indispensable to consumer goods manufacturers like Plaintiffs and the Class.

  Nevertheless, buyers generally remain sensitive to price.

               2.    Defendants’ Fragrance Products Are Interchangeable
        58.    Fragrance ingredients are interchangeable commodity chemicals

  extracted from natural plants or created in a lab via synthesis processes. Because

  fragrance ingredients are uniform chemicals, there is no meaningful difference

  between a fragrance ingredient (or combination of fragrance ingredients in the form

  of a fragrance compound) produced by one Defendant as compared to another.




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        59.   Symrise noted as much in its 2022 Corporate Report, stating, “Most of

  the fragrance ingredients we sell to our customers in our formulations are commodity

  products. The components are no secret. Anyone could use them and purchase the

  compounds on the market or even produce them themself [sic].”32

        60.   Fragrance     compounds     produced     by    Defendants    are   also

  interchangeable. Beginning in the late 20th century, Defendants gained the ability

  to reverse engineer each other’s fragrances using technologies, such as gas

  chromatography and mass spectrometry.         The ability to reverse engineer a

  competitor’s product means that a competitor can copy a proprietary blend and

  compete on price. Defendants’ technical ability to reverse engineer one another’s

  products has only increased with time. Larger companies, e.g., the Defendants, have

  more capability to reverse engineer their competitor’s products.

        61.   Firmenich stated in a published study that mass chromatography and

  mass spectrometry “has threatened, if not eliminated, proprietary secrets” in the

  fragrance and flavor industry.33    This means fragrance manufactures, like the



  32
         Corporate Report 2022, Symrise AG, at 79 (March 8, 2023),
  https://symrise.com/corporatereport/2022/downloads/SYM_corporatereport_2022_
  EN.pdf.
  33
         Vincent Keller and Randy Burgess, ADEXA, Firmenich, Case Study, The
  flavor and fragrance of success (Oct. 2021), https://www.adexa.com/wp-
  content/uploads/2021/10/Case-Study_-Firmenich_Final.pdf (last accessed Feb. 5,
  2024).


                                          25
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  Defendants, could easily replicate each other’s scents and create the same or similar

  fragrances.

        62.     In fact, Defendants do manufacture and sell competing products. That

  is, Defendants sell similar fragrance profiles even if they market them as something

  unique or different. Thus, fragrance ingredients and compounds based on the same

  active ingredients are, to a large extent, interchangeable.

        63.     IFF’s 2021 annual report noted the substitutability of its products as a

  potential risk to its business. Specifically, IFF noted that “increasing [its Fragrance]

  prices to our customers could result in long-term sales declines or loss of market

  share if our customers find alternative suppliers or choose to reformulate their

  consumer products to rely less on our products, which could have an adverse long-

  term impact on our results of operations.”34

        64.     Similarly, Givaudan has admitted:

        there is a very high degree of supply-side substitutability for fragrances
        and that this market, therefore, should not be further segmented in a
        narrower way such as distinguishing between different applications
        (consumer products such as soaps/detergents, cosmetics, toiletries and
        other applications such as fine fragrances). It explains that any
        fragrance producer can and does produce any fragrance irrespective of
        its end-use and can switch production relatively easily from one




  34
        IFF’s 2021 Annual Report, supra note 14 at 14.


                                            26
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        fragrance to another once the production equipment has been
        cleaned.”35

        65.    The substitutability of Defendants’ Fragrance Products should have led

  to price competition among Defendants and substantially restrained their abilities to

  increase prices unilaterally.

               3.     Defendants Supply Each Other with Fragrance Ingredients

        66.    Defendants primarily manufacture fragrance ingredients to support

  their own fragrance compound business.

        67.    Defendants also buy and sell excess fragrance ingredients from one

  another.36 By transacting with one another, Defendants learn of capacity and price

  points for fragrance ingredients from one another.       The inter-Defendant sales

  increased their dependency on each other and provided a mechanism to enforce and

  monitor their conspiracy.




  35
      European Commission, Givaudan/Quest International Merger Case No.
  COMP/M.4507, at 3-4 (Feb. 21, 2007).
  36
        Claire Guillemin, LAW & ODEUR: FRAGRANCE PROTECTION IN THE FIELDS OF
  PERFUMERY AND COSMETICS 92, 423, 427 (1st ed. 2016) (citation omitted); Symrise,
  Financial Report 2018 (Mar. 13, 2019), at 10, https://www.symrise.com/investors/
  financial-results/index.php/?eID=tx_securedownloads&p=1&u=0&g=0&t=170700
  4438&hash=2a99e982b89ed108946de6e550a8a3bf0464df7a&file=fileadmin/symr
  ise/Downloads_reports/reports/documents/2019/190313_SYM_Financial_Report_
  2018.pdf.


                                           27
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        B.     The Structure and Characteristics of the Fragrance Market
               Support the Existence of a Conspiracy

        68.    The structure and other characteristics of the market for fragrance

  ingredients and fragrance compounds make it conducive to anticompetitive conduct

  among Defendants and make collusion particularly attractive.

               1.    The Market Is Highly Concentrated and the Defendants Are
                     the Dominant Firms

        69.    A highly concentrated market is more susceptible to collusion and other

  anticompetitive practices than less concentrated markets.

        70.    The Defendants are the “four largest providers” in the market, and

  “together have a market share of 64%” in the global fragrance market.37 Defendants’

  U.S. market shares are understood to be similar to their global market shares.




  37
         Symrise AG, 2022 Financial Report 12-13 (Mar. 8, 2023),
  https://www.symrise.com/newsroom/downloads/index.php/?eID=tx_securedownlo
  ads&p=458&u=0&g=0&t=1707084408&hash=7cce282b6ebec8da38dd3fb258e46
  c54e915aeaf&file=fileadmin/symrise/Downloads_reports/reports/documents/2023/
  230308-Symrise-Financial-Report-2022.pdf.


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        71.   Defendants have further cemented their control of the fragrance market

  through the acquisition of rivals, which has resulted in significant industry

  consolidation. As one industry analyst has noted, the Defendants’ total share of the

  market:

        is higher than previous years due to acquisitions and mergers. The
        opportunity to supply packages of products to their customers has
        become ever more attractive for the flavour and fragrance houses,
        reflected in various sideways and backwards integration moves in
        recent years. This is exemplified by the merger of IFF and DuPont’s
        Nutrition & Biosciences (N&B) business and the pending merger
        between Firmenich and DSM.38

        72.   Since at least 2016, Defendants have “focused on so-called bolt-on

  acquisitions” to rapidly consolidate the market,39 leading the industry to be

  “dominated by just a few companies.”40 IFF, in its 2022 Annual Report, noted that

  “there has been increased consolidation among our competitors.” 41




  38
        An Overview of the Global Flavours & Fragrances Market, supra note 29.
  39
        Gillian Tan, International Flavors & Fragrance: When Bland Is Good,
  BLOOMBERG (May 10, 2016), https://www.bloomberg.com/opinion/articles/2016-
  05-10/international-flavors-fragrances-when-bland-is-good.
  40
        Andy Hoffman et al., DSM Forms Flavor Giant with $21 Billion Deal for
  Firmenich, BLOOMBERG (May 31, 2022), https://www.bloomberg.com/news/articles
  /2022-05-31/royal-dsm-agrees-to-merge-with-swiss-fragrance-maker-firmenich.
  41
        International Flavors & Fragrances Inc., 2022 Annual Report (Form 10-K), at
  18 (Feb. 27, 2023).


                                          29
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          73.   Recent examples of fragrance-industry consolidation include:

   Year Acquisitions

   2014        IFF acquired Aromor Flavors and Fragrances Ltd.42

               Symrise acquired Diana Group in a transaction valued at €1.3
                billion.43

   2015        IFF acquired Ottens Flavors.44

   2016        IFF acquired David Michael & Company, Inc.45

   2017        Firmenich acquired Agilex Fragrances.46

   2018        Firmenich acquired Flavourome.47



  42
         Press Release, IFF Acquires Aromor to Strengthen Its Fragrance Ingredients
  and Fragrance Creation Capabilities (Jan. 16, 2014), https://ir.iff.com/news-
  releases/news-release-details/iff-acquires-aromor-strengthen-its-fragrance-
  ingredients-and.
  43
        Symrise AG Successfully Closes Acquisition of Diana Group, SYMRISE (July
  29, 2014), https://www.symrise.com/newsroom/article/symrise-ag-successfully-
  closes-acquisition-of-diana-group/.
  44
         Press Release, IFF Completes Acquisition of Ottens Flavors (May 1, 2015),
  https://ir.iff.com/news-releases/news-release-details/iff-completes-acquisition-
  ottens-flavors.
  45
         Press Release, IFF Completes Acquisition of David Michael (Oct. 7, 2016),
  https://ir.iff.com/news-releases/news-release-details/iff-completes-acquisition-
  david-michael.
  46
        Press Release, Firmenich Completes Acquisition of Agilex Fragrances (July
  11, 2017), https://www.firmenich.com/fragrance/press-release/firmenich-completes
  -acquisition-agilex-fragrances.
  47
        Press Release, Firmenich Completes Acquisition of “Flavourome”, to Expand
  Presence in Africa (Feb. 5, 2018), https://www.firmenich.com/taste-and-


                                          30
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              Firmenich acquired Natural Flavors.48

              Givaudan49 acquired Expressions Parfumées.50

              Agilex (Firmenich) acquired Fragrance West.51

              Givaudan acquired Naturex.52

              IFF acquired Frutarom.53




  beyond/press-release/firmenich-completes-acquisition-flavourome-expand-
  presence-africa.
  48
        Press Release, Firmenich Completes Acquisition of “Natural Flavors”, Leader
  in Organic-Certified Flavors (Feb. 6, 2018), https://www.firmenich.com/taste-and-
  beyond/press-release/firmenich-completes-acquisition-natural-flavors-leader-
  organic.
  49
         Givaudan, Investor Presentation (Feb. 2023), https://www.givaudan.com/
  files/giv-2023-investor-presentation-feb.pdf.
  50
        Givaudan Completes the Acquisition of Expressions Parfumées (May 29,
  2018), https://www.givaudan.com/media/media-releases/2018/givaudan-completes
  -acquisition-expressions-parfumees.
  51
        Press Release, Agilex Fragrances Acquires Fragrance West to Expand
  Presence on United States West Coast (June 25, 2018), https://www.firmenich.com/
  fragrance/press-release/agilex-fragrances-acquires-fragrance-west-expand-
  presence-united-states.
  52
        Givaudan Completes the Acquisition and Delisting of Naturex (Sept. 18,
  2018), https://www.givaudan.com/media/media-releases/2018/givaudan-completes
  -acquisition-and-delisting-naturex.
  53
         Press Release, IFF Completes Combination with Frutarom, Establishing a
  Global Leader in Taste, Scent and Nutrition (Oct. 4, 2018), https://ir.iff.com/news-
  releases/news-release-details/iff-completes-combination-frutarom-establishing-
  global-leader.


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              Firmenich acquired Senomyx.54

   2019       Givaudan acquired Golden Frog.55

              Givaudan announced agreement to acquire AMSilk GmbH’s
               cosmetics unit.56

              Givaudan acquired Albert Vieille.57

              Givaudan acquired Fragrance Oils.58

              Givaudan acquired Drom.59

   2020       Symrise entered into agreement to purchase Sensient Technologies
               Corporations’ fragrances and aroma chemicals business unit.60



  54
         Press Release, Firmenich Successfully Completes Tender Offer to Acquire
  Senomyx (Nov. 2, 2018), https://www.firmenich.com/taste-and-beyond/press-
  release/firmenich-successfully-completes-tender-offer-acquire-senomyx.
  55
        Givaudan Completes Acquisition of Vietnamese Flavour Company Golden
  Frog (Sept. 2, 2019), https://www.givaudan.com/media/media-releases/2019/
  acquisition-golden-frog-completed.
  56
         Givaudan to Acquire Cosmetics Business of AMSilk (Apr. 29, 2019),
  https://www.givaudan.com/media/media-releases/2019/givaudan-acquire-
  cosmetics-business-amsilk.
  57
         Givaudan Completes the Acquisition of Albert Vieille (May 6, 2019),
  https://www.givaudan.com/media/media-releases/2019/givaudan-completes-
  acquisition-albert-vieille.
  58
      Givaudan Acquires Fragrance Oils (Aug. 20, 2019), https://
  www.givaudan.com/media/media-releases/2019/givaudan-acquires-fragrance-oils.
  59
         Givaudan Completes the Acquisition of Drom (Sept. 6, 2019),
  https://www.givaudan.com/media/media-releases/2019/givaudan-completes-
  acquisition-drom.
  60
       Symrise to Expand Scent & Care Activities Through Acquisition of Sensient’s
  Fragrances Business Unit, SYMRISE (Nov. 23, 2020), https://www.symrise.com/


                                         32
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   2021        IFF merged with DuPont’s Nutrition & Biosciences business.61

               Givaudan acquired Custom Essence.62


          74.   In May 2023, DSM and Firmenich completed a merger63 that gives its

  new entity — DSM-Firmenich AG valued at roughly $21 billion — “comparable

  footing to IFF,” after IFF’s combination with DuPont.64

          75.   In sum, in recent years, Defendants have acquired a number of rivals

  with operations focused on the United States, making the fragrance market in the

  United States exceptionally concentrated.




  newsroom/article/symrise-to-expand-scent-care-activities-through-acquisition-of-
  sensients-fragrances-business-unit/.
  61
         Press Release, IFF to Complete Merger with DuPont’s Nutrition &
  Biosciences Business (Feb. 1, 2021), https://ir.iff.com/news-releases/news-release-
  details/iff-complete-merger-duponts-nutrition-biosciences-business.
  62
        Givaudan Completes the Acquisition of Custom Essence, Givaudan (Dec. 3,
  2021), https://www.givaudan.com/media/media-releases/2021/givaudan-completes
  -acquisition-custom-essence.
  63
        Press Release, Firmenich Completes Merger of Equals With DSM (May 9,
  2023),    https://www.firmenich.com/company/press-release/firmenich-completes-
  merger-equals-dsm.
  64
        Samantha Oller, DSM, Firmenich to Merge into ‘Powerhouse of Innovation
  and Creativity’, FOODDRIVE (June 2, 2022), https://www.fooddive.com/news/dsm-
  firmenich-to-merge-into-powerhouse-of-innovation-and-creativity/624759/.


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               2.     Defendants are Vertically Integrated

        76.    Defendants are vertically integrated to varying degrees. This means

  that Defendants control several stages of fragrance production, including the

  sourcing of raw materials, manufacturing, and distribution. Defendants describe

  their vertical integration as a strategic advantage. For example, in connection with

  an acquisition, Givaudan boasted that additional vertical integration would “enhance

  our industry leadership.”65 IFF boasted that its vertical integration in bioscience

  “will be a key driver of our innovation platform,”66 and Firmenich described its

  “unmatched, vertically integrated portfolio” as a “unique value proposition.”67

  Robust vertical integration, like Defendants’ operations, creates and reflects

  significant market power by alleviating sourcing issues, driving greater efficiencies,

  reducing costs, and allowing for more control along the manufacturing or

  distribution process. As a result, vertical integration reinforces barriers to entry into




  65
         Givaudan Completes Acquisition of Ungerer, Givaudan (Feb. 20, 2020),
  https://www.givaudan.com/file/207451/download.
  66
         Transcript: International Flavor & Fragrance Inc. Presents at Barclays Global
  Consumer       Staples      Conference,     Zonebourse      (Sept.    09,     2021),
  https://www.zonebourse.com/cours/action/INTERNATIONAL-FLAVORS-F-
  13047/actualite/Transcript-International-Flavors-Fragrances-Inc-Presents-at-
  Barclays-Global-Consumer-Staples-Co-37765129/.
  67
         Press Release, Firmenich Appoints New Leadership for Integrated Perfumery
  & Ingredients Organization (Feb. 8, 2023), https://www.firmenich.com/fragrance/
  press-release/firmenich-appoints-new-leadership-integrated-perfumery-ingredients.


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  the fragrance market because prospective or smaller competitors cannot compete

  with the efficiencies and scale of Defendants.

                3.    Barriers to Entry Are High

        77.     A collusive arrangement that raises product prices above competitive

  levels would, under basic economic principles, attract new entrants seeking to

  benefit from the supracompetitive pricing. When, however, there are significant

  barriers to entry, new entrants are much less likely to enter the market. The market

  for Fragrance Products has high barriers to entry.

        78.     Factors that deter new entry to the fragrance market include, but are not

  limited to:

                Regulations. Fragrance suppliers are subject to legal and regulatory
                frameworks (e.g., environmental, health, and safety) that are
                geographically specific. Large suppliers with an international presence
                and more robust resources have an advantage in navigating such
                regulations because they will have already invested in a compliance
                infrastructure as well as in lobbyists to influence the legal and
                regulatory framework.

                Scale. Defendants benefit from economies of scale, which occur when
                increased output leads to lower average costs. Hopeful new entrants to
                the fragrance market find it difficult to compete because their average
                costs would be much higher than the larger incumbents, and because
                they lack similar promotion recourse. The mature and relatively
                saturated nature of the market also acts as a deterrent to new entrants.

                Access to Raw Materials. Raw materials are sourced from all over the
                globe with attendant supply chain complexity. Access to materials used
                as inputs is of critical importance to the ability of a firm to enter the
                market. Defendants, as the largest suppliers, maintain substantial
                control over access to key ingredients because they produce those
                ingredients themselves.

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               High Capital Requirements. Only a few fragrance companies have
               the skills, capacity, and resources to manufacture Fragrance Products.
               The amount of research and development, marketing, and capital
               expenditure required to enter this industry and gain market share has
               limited the number of industry operators. To gain market share,
               companies spend large sums of money on marketing and to acquire
               competitors. New entrants must overcome the need for substantial
               financing.

        79.    Defendants IFF and Givaudan have repeatedly touted to their investors

  that the Fragrance market is protected by high barriers to entry. Givaudan listed the

  industry’s “high barrier to entry (complexity, R&D, consumer insight, regulations,

  etc.)” as a key investment highlight in a 2022 investor presentation.68 Givaudan’s

  Chief Financial Officer, Alison Cornell, boasted during the Deutsche Bank Global

  Consumer Conference on June 14, 2016, “the barriers to entry favor the large players

  as they include an increasing global [indiscernible] regulatory environment, the need

  for capital investment in manufacturing facilities, the significant and ongoing

  investment in research and development, the complexity of managing global

  customers and ongoing investment in ingredients, people, intellectual property and

  processes.”69 Symrise gave a similar presentation to its investors in 2019, stating

  68
         2022 General Investor Relations Presentation, Givaudan (Jan. 2022), at 32,
  https://www.givaudan.com/files/giv-2022-investor-presentation_jan.pdf.
  69
         Transcript : International Flavors &Fragrances Inc. Presents at DeutscheBank
  Global     Consumer         Conference,     Zonebourse      (June      14,    2016),
  https://www.zonebourse.com/cours/action/INTERNATIONAL-FLAVORS-F-
  13047/actualite/Transcript-International-Flavors-Fragrances-Inc-Presents-at-
  Deutsche-Bank-Global-Consumer-Confe-38010620/.


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  high barriers to entry included “core list system and increasing regulatory

  pressure.”70

        80.      Givaudan reiterated these points again in a February 2023 investor

  presentation, stating that the company is protected by “High barriers to entry and

  high shifting costs for customers.”71 Givaudan directly linked high barriers to entry

  with market share, stating in a February 2020 investor presentation that Defendants

  enjoyed “[l]eading market share . . . supported by substantial barriers to entry that

  continue to protect incumbents.”72

        81.      In a 2018 article, merger and acquisition advisory firm Grace

  Matthews, reiterated that barriers to entry in fragrances and flavors are high, as

  “technical expertise is highly valued, and regulatory compliance can be a significant

  issue as many products made by the F&F industry come into contact with the human

  body.”73 Marifaith Hackett, Director of Specialty Chemicals with IHS Markit,

  explained, “‘the business is fairly opaque to outsiders – by design, no doubt – and

  70
        Olaf Klinger (CFO), Symrise Investor Presentation, Symrise (June 2019),
  at 6, https://www.symrise.com/fileadmin/symrise/Corporate/Investors/Financial_
  calendar_and_presentations/190611_Symrise_Investor_Presentation_Paris.pdf.
  71
        Givaudan’s Investor Presentation, supra note 49 (emphasis in original).
  72
        Givaudan, Investor Presentation (Feb. 2020), at 6, https://www.givaudan.
  com/files/giv-2020-investor-presentation-jan-oct.pdf (emphasis added).
  73
        Vincent Valk, High Valuations Do Not Stop Flavors and Fragrances Deals,
  GRACE MATTHEWS (Dec. 6, 2018), at 2, https://gracematthews.com/wp-
  content/uploads/2021/11/Highvaluationsdonotstopflavorsandfragrancesdeals.pdf.


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  any new entrant to the F&F industry would have to expect a fairly sharp learning

  curve’” and “‘[n]ew entrants tend to start out small.’”74 The author of the article

  added, “[t]hese new entrants are often founded by individuals with pre-existing

  knowledge and contacts in the industry.”75

               4.    The Buy-Side of Market Is Not Concentrated

        82.    The fact that the nature of the buy-side of the fragrance market is not

  concentrated is consistent with collusion. With a large number of buyers, each of

  whom forms a small share of the total marketplace, there is less incentive for cartel

  members to cheat on collusive pricing arrangements, since each potential sale is

  small while the risk of disrupting the collusive pricing agreement carries large

  penalties.

        83.    IFF, for example, “had no customers that accounted for greater than

  10% of consolidated net sales in 2022, 2021 and 2020.”76 In 2021, IFF’s “25 largest

  customers, a majority of which were multi-national consumer products companies,

  collectively accounted for 29% of [its] sales in the aggregate.”77




  74
        Id.
  75
        Id.
  76
        IFF’s 2022 Annual Report, supra note 41 at 91.
  77
        IFF’s 2021 Annual Report, supra note 14 at 18.


                                           38
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               5.     Demand for Fragrances Is Inelastic

        84.    Economic theory recognizes that industries with inelastic demand are

  more susceptible to cartel behavior because of the potential for large increases in

  revenue resulting from the higher cartel prices.          There are two primary

  characteristics that demonstrate the inelasticity of demand for the Fragrance

  Products market: a lack of substitute goods and the product being a small portion of

  the overall cost of the overall good.

        85.    Lack of Substitute Goods: Substitute goods can serve to restrain price

  increases and temper the effects of a price-fixing conspiracy. Even though the

  Fragrance Products with the same scent are fungible, Fragrance Products are the only

  products that can provide the scent in customer products. There are no suitable

  substitute goods for fragrances that would work to restrain price increases of

  Fragrance Products.

        86.    Small Share of Overall Cost: Fragrances typically constitute only a

  small share of the overall cost of the end products into which they are incorporated.

  As Givaudan stated in a recent investor presentation: “Scent and taste determine

  consumer purchase and repeat decisions whilst representing only a minor fraction of

  costs 0.5-2.0% in flavours and consumer fragrances to 4-6% in fine fragrances, i.e.

  a very minor portion of the end product costs.”78


  78
        Givaudan’s Investor Presentation, supra note 49.


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               6.    Fragrance Products Are Commodities

        87.    As detailed above, Defendants’ fragrance ingredients and fragrance

  compounds are commodities. Coordination is easier with a commodity product

  because firms wishing to form a cartel can more easily monitor and detect defections

  from a price-fixing agreement where observed differences in prices, other than those

  arising because of differences in product grade, for example, are more likely to

  reflect cheating on the conspiracy than some kind of custom arrangement.

               7.    Fragrances are Nondurable Products
        88.    Additionally, fragrance ingredients and fragrance compounds are

  nondurable products with a limited shelf life, some with “best before” dates of only

  one year after manufacture. The market for a nondurable good is easier to cartelize

  than a durable good market due to lower temptation for cartel members to cheat on

  sales of nondurable goods and less opportunity to price discriminate based on

  customers’ different demand elasticities.

               8.    Industry Associations Provided Defendants Forums to
                     Collude and Assisted Defendants in Carrying out Their
                     Conspiracy

        89.    The European Commission announced that one of the entities that was

  raided on March 7, 2023, was an unnamed industry association, which has assisted

  the Defendants in carrying out their conspiracy. The EC stated that it “has concerns




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  that companies and an association in the fragrance industry worldwide may have

  violated EU antitrust rules that prohibit cartels and restrictive business practices.”79

        90.    Courts have found industries in which main competitors participate in

  trade associations and frequently communicate with each other are susceptible to

  collusion.   Defendants control the most important trade associations and self-

  regulating bodies in the fragrance market. This makes the fragrance market more

  susceptible to collusive behavior because the trade organizations provide forums for

  the Defendants to exchange sensitive information such as pricing and outputs.

  Defendants use their control of industry associations to facilitate their conspiracy.

        91.    To start, Defendants coordinated and conspired through their control of

  International Fragrance Association (“IFRA”). IFRA is an official self-regulatory

  representative body of the worldwide fragrance industry with the stated goal of

  representing “the collective interests of the industry and promote the safe use and

  enjoyment of fragrances around the world.”80 IFRA is currently limited to seven

  regular members: the Defendants, Robertet Group, Takasago International

  Corporation, and BASF.


  79
         Foo Yun Chee & Oliver Hirt, EU, UK, Swiss Probe Suspected Fragrance
  Cartel, Givaudan Confirms Cooperation, REUTERS (last updated Mar. 7, 2023),
  https://www.reuters.com/world/europe/eu-antitrust-regulators-raid-companies-
  association-fragrance-sector-2023-03-07/.
  80
         IFRA, Making the difference – in every sense, https://ifrafragrance.org/about-
  ifra/introduction (last visited Jan. 30, 2024).


                                            41
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        92.   The Defendants control IFRA’s board. For example, Symrise’s Chief

  Sustainability Officer, Hans Holger Gliewe, has been the chair of IFRA since April

  of 2020. Prior to Mr. Gliewe, Michael Carlos, previously President of Givaudan’s

  Fragrance Division and currently a board member of Givaudan, served as chair of

  IFRA from 2015 to 2020. To this day, every Defendant maintains a representative

  on IFRA’s board.

        93.   IFRA has served as a mechanism to coordinate and facilitate

  Defendants’ conspiracy. Every year, IFRA hosts the Global Fragrance Summit,

  which is a multi-day event at which Defendants meet and intermingle.81 IFRA also

  holds other events throughout the year for its members (including Defendants).

  Through such events, Defendants have ample opportunity to meet and coordinate.

  Indeed, the 2022 IFRA Global Fragrance Summit held from November 8, 2022 to

  November 10, 2022 in São Paulo, Brazil was attended by several representatives of

  Defendants, including Greg Adamson, the Senior Vice President of Global

  Regulatory Affairs at Givaudan; Jeremy Compton, Givaudan’s Head of Science and

  Technology; Matteo Magnani, Firmenich’s Chief Consumer and Innovation Officer,

  Ilaria Resta, Firmenich’s Global President of Perfumery; Joris Theewis, IFF’s

  Global Regulatory Strategic Lead; Gregory Ladics, IFF’s Head of Product Safety


  81
        IFRA, Dialogue, https://ifrafragrance.org/priorities/dialogue (last visited
  April 20, 2023).


                                         42
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  and Chemical Management; and Eder Ramos, Symrise’s Global President of its

  Fragrance Division.82

        94.   In addition to IFRA, Defendants also control several other trade

  associations that provide forums for their collusive communications. After jointly

  deciding to leave the then-extant North American trade association, in March 2021,

  Defendants launched their own North American trade organization, Fragrance

  Science & Advisory Council (“FSAC”).83 Reporting at the time explained that

  FSAC “unites the world’s leading fragrance and flavor companies in an effort to

  drive science-based public policy in North America.” FSAC set out with the express

  goal to focus on “business-to-business audiences” in order to “defend[] fragrance

  ingredients” against, among other things, criticism from “consumer[s].”84 At the

  beginning, Defendants were the only members of FSAC. To date, FSAC has added

  only one non-Defendant member – Bath and Body Works.




  82
         Global Fragrance Summit (Sao Paulo, Brazil 2022), available at
  https://www.mayerbrown.com/-/media/files/perspectives-
  events/events/2022/11/ifragfs2022_program.pdf?rev=dabc93abfbc74ddd82da63e6
  a7db58d0 (last accessed Feb. 5, 2024).
  83
         Lauren Nardella, World’s Biggest Fragrance and Flavor Firms Join Forces
  to Champion Science in Public Policy, HBW INSIGHT (Mar. 31, 2021),
  https://hbw.pharmaintelligence.informa.com/RS151176/Worlds-Biggest-
  Fragrance-And-Flavor-Firms-Join-Forces-To-Champion-Science-In-Public-Policy.
  84
        Id.


                                         43
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        95.   FSAC provides Defendants a unique opportunity to collude.          In

  addition to standard board and committee meetings, FSAC holds annual meetings.

  The inaugural annual meeting was held on December 9, 2021, and was attended by

  all Defendants. According to a press release, FSAC’s board and several committees,

  which are occupied by representatives of Defendants, “met to review progress and

  map goals and priorities for 2022.”85

        96.   As mentioned above, prior to founding FSAC, Defendants belonged to

  the North America-focused Fragrance Creators Association (“FCA”).86 The timing

  of Defendants’ departure from FCA and the founding of FSAC is highly suspicious

  – Defendants all announced they were leaving FCA on the same date – May 27,

  2020. In recent years, in direct conflict with Defendants’ interests, FCA had been

  increasingly prioritizing consumer-focused fragrance safety transparency issues.

  Instead of cooperating with the FCA’s evolving mission towards greater safety and

  transparency measures, Defendants created their own organization – FSAC – that

  they controlled to lobby for legislation that would benefit the Defendants at the

  expense of others (i.e., smaller competitors and potential new entrants into the



  85
        Industry News, The Fragrance Science & Advocacy Council Holds Inaugural
  Annual Meeting in December 2021, FSAC (Feb. 7, 2022), https://fsac.org/
  communications/fragrance-science-advocacy-council-holds-inaugural-annual-
  meeting-december-2021.
  86
        Nardella, Supra note 83.


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  markets, and their own customers). However, after the investigation into Defendants

  began, IFF left FSAC and rejoined FCA. In the announcement that IFF rejoined

  FCA, FCA made no mention of the fact that IFF once left the trade association and

  provides no reason for its rejoining. It is reasonable to infer that IFF recognized that

  FSAC presented a unique opportunity to collude with its main competitors with only

  one other participant. It is also reasonable to infer that IFF left FSAC in an attempt

  to shield itself from antitrust liability once it realized it was under scrutiny from

  antitrust authorities.

         97.    Defendants also are all members of the Research Institute for Fragrance

  Materials (“RIFM”). RIFM holds itself out as a leading resource for the safe use of

  fragrance ingredients and serves as the industry regulator in conjunction with IFRA.

  RIFM conducts and publishes safety assessments of all ingredients used for their

  aroma-producing properties. RIFM’s activities include conducting toxicity tests and

  allergy and photo toxicity testing of raw materials. After testing, RIFM submits the

  results of the screening of the materials to IFRA, which then ensures Fragrance

  manufacturers’ compliance with all relevant legislation and the standards of safety

  and conduct in the industry set by IFRA. As Defendants have authority in both

  RIFM and IFRA, they are able to influence the testing process for fragrances and

  regulatory and safety standards for the fragrance market.




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        98.   Defendants all serve on RIFM’s Advisory Committee and are the most

  prominent members of RIFM’s Core Teams, which advise and consult on strategic

  issues related to RIFM’s goals. Thus, Defendants attend meetings of RIFM’s

  Advisory Committee and Core Teams together, and they exert significant influence

  over RIFM’s activities.

        99.   While the FCA (the trade organization that Defendants left in order to

  form FSAC) has focused their efforts on greater transparency with customers, the

  Defendant-controlled FSAC has been using its power to “closely track[] fragrance-

  relevant developments at the US Food and Drug Administration and US

  Environmental Protection Agency and could be ‘front and center’ in discussions

  regarding fragrance ingredients.”87

        100. Defendants have used their combined market share and chokehold on

  the FSAC to suppress innovation and customer choice, and delay safety and

  transparency initiatives advocated for by competitors. Defendants will continue to

  wield trade organizations to maintain their dominant market share; as FSAC

  President and Chairman of the Board admitted, ‘“it will be one of these four

  [fragrance] houses that will own the majority of the science and safety assessment

  data.’”88 Nearly exclusive access to and control over this data will make it nearly


  87
        Nardella, Supra note 83.
  88
        Id.


                                          46
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  impossible for small competitors to challenge industry standards coming out of the

  FSAC.

        101. Defendants’ control of the FSAC in tandem with their influential

  positions in IFRA and RIFM cement Defendants’ ability to dictate safety, health,

  and industry standards in the Fragrance market.

        102. Defendants also had significant opportunities to collude at other

  industry events, including those thrown by the American Society of Perfumers. For

  instance, at the American Society of Perfumers’ golf event, pictures show executives

  from Firmenich, Givaudan, and IFF paired in groups together. And pictures from

  the American Society of Perfumers’ Symposium similarly show Firmenich and IFF

  executives posing with their arms around each other. These examples illustrate the

  coziness of executives from different fragrance companies as well as the many

  opportunities those executives had to collude and share competitively sensitive

  information with one another.

        103. Defendants also participate in the reoccurring World Perfumery

  Congress. Givaudan, IFF, and Firmenich are Diamond Sponsors of the 2024

  conference while Symrise is a Platinum Sponsor.89 The self-described “Sensory

  Event for Fragrance Leaders” is a multiday conference where industry insiders meet



  89
        World Perfumery Congress, https://worldperfumerycongress.com/ (last
  accessed Jan. 30, 2024).


                                          47
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  to listen to presentations and attend networking receptions. The presentations for

  the 2024 event include “The Current State of Fragrance According to Industry

  Insiders,” and “Trend Forecasts & Innovations in Home Care Scents.”90

        104. On information and belief, by controlling the trade associations in the

  fragrance market, Defendants used the trade association meetings as forums to

  exchange competitively sensitive pricing and volume information and organize their

  cartel. As detailed above, these exchanges of information are confirmed by IFF’s

  admission on February 10, 2022, that it knew how an “awful lot of [its] competitors”

  were pricing their products. The reciprocal sharing of firm-specific competitively

  sensitive information that would normally remain private is a “super plus factor” that

  leads to a strong inference of active collusion.91

        C.     Defendants Coordinated Parallel Price Increases During the Class
               Period

        105. Defendants acted in concert to fix, raise, maintain, and stabilize the

  price of Fragrance Products manufactured, sold, distributed, or imported into the

  United States. This unlawful agreement in restraint of trade began at least as early




  90
         2024 World Perfumery Congress, The Sensory Event for Fragrance leaders,
  https://wpc2024.mapyourshow.com/8_0/explore/session-fulllist.cfm#/       (last
  accessed Jan. 30, 2024).
  91
        William E. Kovacic, Robert C. Marshall, Leslie M. Marx & Halbert L. White,
  Plus Factors and Agreement in Antitrust Law, 110 Mich. L. Rev. 393 (2011).
  Available at: https://repository.law.umich.edu/mlr/vol110/iss3/1.


                                            48
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  as January 1, 2018, and continues into the present. Defendants’ conduct constitutes

  a horizontal price-fixing conspiracy and violates Sections 1 and 3 of the Sherman

  Act.

         106. During the period prior to the alleged conspiracy, fragrance prices in

  the United States were in a steady decline. The beginning of the conspiracy marked

  a period of flat prices followed by a dramatic increase by over 37%.92

         107. Since at least 2018, Defendants have coordinated price increases to

  increase their profits. The justifications offered by the Defendants — that their price

  increases were due primarily to increased input costs, chiefly stemming from the

  pandemic — were pretextual and do not fully account for the significant increases

  in prices over the Class Period. These price increases are not adequately explained

  by market factors. Moreover, Defendants publicly signaled their intent to raise

  prices throughout the Class Period, providing one another assurances that they would

  not compete for business on price.

         108. In a competitive market, increasing prices should result in customer

  churn, loss of sales volume, and loss of profits. Contrary to these basic economic

  principles, Defendants have repeatedly touted their ability to raise Fragrance



  92
         United States Bureau of Labor Statistics, Producer Price Index by
  Commodity: Chemicals and Allied Products: Synthetic Organic Chemicals for Use
  as Flavor and Perfume Materials, retrieved from FRED, https://fred.stlouisfed.org/
  series/WPU061403997 (Feb. 1, 2024).


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  Products prices during the Class Period without any negative impact on their

  fragrance businesses. Such circumstances further confirm that Defendants have

  engaged in price fixing and that they were successful in doing so.

        109. Publicly available information shows that Defendants suspiciously

  reported increasing prices in parallel around the same time on several occasions

  throughout the Class Period. For example, in January 2018, Givaudan announced

  that it was raising prices on all products by 6% effective in February 2018.

        110. In an April 9, 2018 report on its first-quarter sales, Givaudan reported

  that it “continues to implement price increases in collaboration with its customers to

  compensate for the increases in input costs.”93 Likewise, Symrise reported in its

  first-quarter 2018 earnings call that “we continue to implement price increases in

  close dialogue with our customers to compensate for higher raw material cost.”94

        111. In an August 7, 2018 SEC report, IFF disclosed that its “[n]et sales

  during the second quarter of 2018 increased 9%,” due in part to “price increases”

  during the period.95


  93
         Press Release, Givaudan, First Quarter Sales (Apr. 9, 2018),
  https://www.givaudan.com/media/media-releases/2018/2018-first-quarter-sales.
  94
        Olaf Klinger, CFO & Member of Executive Board for Symrise AG, Remarks
  at Q1 2018 Symrise AG Earnings Call – Final (May 8, 2018) (Transcript available
  in Westlaw).
  95
        International Flavors & Fragrances, Inc., Quarterly Report (Form 10-Q), at 26
  (Aug. 7, 2018).


                                           50
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        112. On August 14, 2018, Symrise reported price increases in its fragrance

  segment through a press release, announcing that “the company is in close dialogue

  with its customers to actively implement price increases.”96

        113. Less than one month later, on September 6, 2018, IFF then-CEO

  Andreas Fibig also announced that their “teams are out there and increasing prices

  as much as they can.”97

        114. Shortly after, on October 8, 2018, Givaudan confirmed that “the

  company continues to implement price increases in collaboration with its customers

  to compensate for the increases in input costs.”98

        115. A few months later, during a January 25, 2019 investor call, Givaudan

  announced that the company was “working on price increases” for fragrances and

  that Givaudan was very “confident to pass on, let’s say, the lion’s share of the price




  96
         Strong Organic Growth of 9.0% in the First Half of 2018, Symrise (Aug. 14,
  2018), https://www.symrise.com/newsroom/article/strong-organic-growth-of-90-
  in-the-first-half-of-2018/.
  97
         Transcript: International Flavors &Fragrances Inc. Presents at Barclays
  Global Consumer Staples Conference, Zonebourse (Sept. 6, 2018) (emphasis
  added),              https://www.zonebourse.com/cours/action/INTERNATIONAL-
  FLAVORS-F-13047/actualite/Transcript-International-Flavors-Fragrances-Inc-
  Presents-at-Barclays-Global-Consumer-Staples-Co-37949946/ Defendants at times
  refer to their Fragrance division as their scent business.
  98
       2018 Nine Month Sales, Givaudan (Oct. 8, 2018), https://www.givaudan.
  com/media/media-releases/2018/2018-nine-month-sales.


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  increase for the combined 5%, 6% for both divisions in 2019, and there will be a,

  let’s say, a relatively small tail end in 2020.”99

        116. Coming full circle, on February 19, 2019, IFF’s VP of Global

  Communications and Investor Relations, Michael Deveau, announced that IFF was

  looking to achieve “about a 4% price increase related to the scent” business.100

        117. Defendants continued signaling their price increases throughout 2019.

        118. On July 18, 2019, Givaudan’s CEO, Gilles Andrier, with respect to

  managing raw material cost increases, “we are fully compensated with price

  increase.”101 In other words, Givaudan was able to recoup all costs in connection

  with increases in the costs of raw material through price increases. On August 10,

  2019, Symrise’s CFO, Olaf Klinger, reported that Symrise was “successful in getting




  99
        Givaudan’s (GVDBF) CEO Gilles Andrier on Q4 2018 Results, Seeking
  Alpha (Jan. 25, 2019), https://seekingalpha.com/article/4235672-givaudans-gvdbf-
  ceo-gilles-andrier-on-q4-2018-results-earnings-call-transcript.
  100
        International Flavor & Fragrances Inc. at Consumer Analyst Group of New
  York     Conference      Transcript,   https://www.zonebourse.com/cours/action/
  INTERNATIONAL-FLAVORS-F-13047/actualite/Transcript-International-
  Flavors-Fragrances-Inc-Presents-     at-CAGNY-2019-Conference-Feb-19-2019-
  37937566/.
  101
         Givaudan SA (GVDBF) CEO Gilles Andrier on Q2 2019 Results - Earnings
  Call Transcript, https://seekingalpha.com/article/4275832-givaudan-sa-gvdbf-ceo-
  gilles-andrier-on-q2-2019-results-earnings-call-transcript.


                                             52
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  through those price increases”102 in the fragrance segment and, during a September

  2019 CEO conference, IFF’s then CEO Andreas Fibig touted that IFF had “seen in

  the last couple of quarters a mid-single-digit growth on the scent business, which

  was probably driven by – half of its volume growth, half of its price growth,” which

  demonstrates that IFF has been increasing prices since at least sometime in 2019

  without repercussions.103

         119. Touting Symrise’s strong fourth quarter 2019 performance, CFO Olaf

  Klinger reported that “[i]n 2019, [Symrise’s] profitability grew stronger than the top

  line, mainly due to under-proportional raw material price increases and good cost

  management.”104 In the same call, CEO Heinz-Jürgen Bertam explained that “[r]aw

  material prices change and change all the time. As we use 10,000 raw materials

  typically . . . most of this levels out . . . a lot of these effects level themselves out.”105



  102
         Symrise AG (SYIEF) CEO Heinz-Jürgen Bertram on Q2 2019 Results -
  Earnings Call Transcript, https://seekingalpha.com/article/4284389-symrise-ag-
  syief-ceo-heinz-jurgen-bertram-on-q2-2019-results-earnings-call-transcript.
  103
         September 25, 2019 International Flavors & Fragrances Inc. at Sanford C
  Bernstein     Strategic     Decisions      CEO       Conference       Transcript,
  https://www.marketscreener.com/quote/stock/INTERNATIONAL-FLAVORS-F-
  13047/news/Transcript-International-Flavors-Fragrances-Inc-Presents-at-
  Bernstein-16th-Annual-Strategic-Dec-37916407/.
  104
        Symrise AG Q4 2019 Results: Earnings Call Transcript, Seeking Alpha (Mar.
  10, 2020), https://seekingalpha.com/article/4331042-symrise-ag-syief-ceo-heinz-
  jurgen-bertram-on-q4-2019-results-earnings-call-transcript.
  105
         Id.


                                               53
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        120. Defendants increased prices again in 2020. At Givaudan’s July 21,

  2020 earnings call, Givaudan SA CEO Gilles Andrier was asked how much of the

  company’s 1% gross profit margin improvement was due to raw material costs.

  Andrier responded that raw material costs “had no material effect on the gross profit

  margin to explain the 1% improvement.”106 Rather, the “improvement has lot to do

  with the price increase[s] that we have made.”107 Mr. Andrier reported that despite

  COVID-related setbacks, “on a like-for-like basis, our fragrance division grew 4.5%

  and our Flavours [sic] division grew 3.6%.”108

        121. Less than a month later, on August 11, 2020, during its 2020 earnings

  results call, Firmenich’s CEO, Gilbert Ghostine, reported that “in consumer

  fragrance, we grew our revenue by 6%.”109 CFO, Eric Nicolas, attributed the

  company’s (overall) increase in profitability to “successful pricing, as well as the

  favourable impact of raw material costs.”110




  106
         Givaudan SA (GVDBF) CEO Gilles Andrier on Q2 2020 Results - Earnings
  Call Transcript, Seeking Alpha (July 21, 2020), https://seekingalpha.com/
  article/4359705-givaudan-sa-gvdbf-ceo-gilles-andrier-on-q2-2020-results-
  earnings-call-transcript.
  107
        Id.
  108
        Id.
  109
        2020 Firmenich Earnings Results Call Transcript (Aug. 11, 2020).
  110
        Id.


                                           54
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        122. Similarly, in reporting its 2020 financial results on March 9, 2021, Mr.

  Klinger, Symrise’s CFO, boasted that “[i]n Scent & Care, 40% of the organic growth

  and pricing and 60% was volume related.”111

        123. And, consistent with 2019 and 2020, Defendants hiked prices again in

  2021. For example, on November 9, 2021, IFF’s then-CEO Andreas Fibig reported

  that the company’s fragrance division has had a “strong year” in part because of a

  “sales profitability expansion of 110 basis points” that had been “led by higher

  volume, favorable mix and higher productivity.”112 Mr. Fibig then stated that “[o]ur

  team . . . did an exceptional job increasing prices to combat inflationary pressures,

  something that will continue to be critical as we move forward.”113 On the same

  earnings call, CFO Glenn Richter confirmed that IFF implemented “broad-based

  pricing actions across all of our businesses.”114

        124. During an earnings call, Firmenich’s CEO Gilbert Ghostine announced

  that for the six months ended December 31, 2021, Firmenich’s “revenue grew by

  111
         Symrise AG (SYIEF) CEO Heinz-Jürgen Bertram on 2020 Financial Results
  –    Earnings     Call   Transcript,    Seeking     Alpha   (Mar.    9,    2021),
  https://seekingalpha.com/article/4412605-symrise-ag-syief-ceo-heinz-jurgen-
  bertram-on-2020-financial-results-earnings-call-transcript.
  112
        Q3 2021 International Flavors & Fragrances Inc. Earning Call Transcript, The
  Motley Fool (Nov. 9, 2021), https://www.fool.com/earnings/call-transcripts/
  2021/11/09/international-flavors-fragrances-inc-iff-q3-2021-e/.
  113
        Id.
  114
        Id.


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  12%” and “we increased our adjusted EBITDA by 25%.”115 Firmenich achieved

  this solid revenue and profitability growth by increasing prices. As Mr. Ghostine

  stated, “we are taking all the action in order to make sure that we pass [the higher

  cost] to our customers.”116

        125. Symrise also confirmed 2021 price increases during an earnings call

  held on March 1, 2022, in which Symrise’s new CEO, Dr. Heinz-Jürgen Bertram,

  reported that “price increase initiatives were taken early on in the second half of last

  year” in its fragrance business.117

        126. After several years of steady price increases, on March 17, 2022, IFF

  again announced price increases that affected its fragrance business.118




  115
         Firmenich Half Year 2022 Results Presentation Transcript.
  https://img06.en25.com/Web/FirmenichCorporateCenter1/%7B0e7a45ec-10c3-
  4ec4-b4a9-4d85bdd25d97%7D_Firmenich_HY22_Presentation_Script.pdf?elq
  TrackId=7a99220d2dc9457dbc515805c644723b&elqaid=450&elqat=2.
  116
        Id.
  117
         Symrise AG (SYIEF) CEO Heinz-Jürgen Bertram on Q4 2021 Results -
  Earnings Call Transcript, Seeking Alpha (Mar. 4, 2022), https://seekingalpha.com/
  article/4492962-symrise-ag-syief-ceo-dr-heinz-jurgen-bertram-on-q4-2021-results-
  earnings-call-transcript.
  118
        Press Release, IFF Announces Global Price Increases Across All Divisions
  (Mar. 17, 2022), https://ir.iff.com/news-releases/news-release-details/iff-announces
  -global-price-increases-across-all-divisions.


                                            56
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         127. Less than one month later, on April 12, 2022, Givaudan announced that

  it would keep raising prices in 2022, purportedly to offset higher input costs despite

  the fact that like-for-like sales rose 4.6% in the first quarter.119

         128. In a May 10, 2022 earnings call, IFF noted that it had raised prices by

  approximately 8% in the preceding quarter.120 When asked by an analyst whether

  the steep price increases were leading to push back from customers, Franklin

  Clyburn, IFF Chief Executive Officer stated:

         There are pushbacks. I think some of the pushbacks are in some of the
         smaller customers, some of our emerging market customers where price
         is much more sensitive. We are seeing pushback there.121

  Glenn Robert Richter, Executive Vice President and Chief Financial Officer of IFF

  elaborated, stating that:

         I’d say, first of all, obviously, we’re not unique. Every industry is
         experiencing substantial increases in inflation and all of our
         competitors are out there basically taking prices up as well.122




  119
         Givaudan to Keep Raising Prices After Q1 Sales Grew 4.6%, REUTERS (Apr.
  12, 2022), https://www.reuters.com/business/retail-consumer/givaudan-keep-
  raising-prices-after-q1-sales-grew-46-2022-04-12/.
  120
        International Flavors & Fragrances Inc. (IFF) Q-1 2022 Earnings Call
  Transcript (May 10, 2022), https://news.alphastreet.com/international-flavors-
  fragrances-inc-iff-q1-2022-earnings-call-transcript/.
  121
         Id.
  122
         Id. (emphasis added).


                                              57
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         129. Givaudan announced accelerated price increases again on July 21,

  2022, despite the fact that like-for-like sales rose 7.9% year on year in the second

  quarter.123

         130. Shortly thereafter, on August 2, 2022, Symrise announced general price

  increases (including, apparently for fragrances) and its CEO, Dr. Bertram, boasted

  that the company managed to pass on the bulk of the higher costs to customers in the

  first half of the year.124

         131. A few days later, during the earnings call on August 5, 2022,

  Firmenich’s CEO, Gilbert Ghostine, likewise announced parallel price increases

  despite a 32% increase in its fine fragrance sector.125 Firmenich’s CFO Benoit

  Fouilland stated “If you look at the mix of our growth, you will see 11% growth that

  we delivered in financial year ’22 . . . 30% of the growth was coming from price . .

  . . As you move towards the second part of the year the contribution of price to the



  123
       Silke Koltrowitz, Givaudan to Accelerate Price Increases as Input Costs Hit
  Margins, REUTERS (July 21, 2022), https://www.reuters.com/business/retail-
  consumer/givaudan-confirms-mid-term-targets-works-pass-higher-prices-2022-07-
  21/.
  124
        Jagoda Darlak & David Latona, Symrise Hikes Forecast as Higher Prices,
  Demand Offset Soaring Costs, REUTERS (Aug. 2, 2022), https://www.reuters.com/
  business/germanys-symrise-raises-sales-outlook-increased-demand-2022-08-02/.
  125
         Jennifer Weil, Firmenich Posts Record Full-year Top- and Bottom-line
  Growth, YAHOO NEWS (Aug. 5, 2022), https://www.yahoo.com/news/firmenich-
  posts-record-full-top-182010078.html.


                                          58
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  overall growth has been increased.”126 Ghostine publicly also signaled Firmenich’s

  plan of launching additional price hikes in the coming fiscal year – “So far we have

  passed on the vast majority of the cost increase already this year,” and would

  continue doing so next year.127 Firmenich confirmed those additional price hikes in

  a November 22, 2022 press release.128

        132. And, on November 8, 2022, IFF’s CFO Glenn Richter boasted to

  investors that the “Scent division once again delivered a strong performance . . . due

  to volume growth, our price increases and productivity gains.”129

        133. Defendants have continued to flaunt their ability to raise fragrance

  prices in the last few months. On January 25, 2023, Tom Hallam, Givaudan’s CFO,




  126
      Firmenich Full Year 2022 Results Transcript https://img06.en25.com/
  Web/FirmenichCorporateCenter1/%7B8d3b75af-a4c7-4e3a-ad0f-07828f370537%
  7D_Firmenich_Full_Year_2022_Results_transcript.pdf?elqTrackId=1137cb7ba0a1
  478d8368bff3787e7e5c&elqaid=450&elqat=2.
  127
        Id.
  128
         Firmenich Delivered Double-Digit Revenue Growth in the First Quarter of
  Financial Year 2023, Firmenich (Nov. 22, 2022), https://www.bloomberg.com/
  press-releases/2022-11-22/firmenich-delive230red-double-digit-revenue-growth-
  in-the-first-quarter-of-financial-year-2023.
  129
         International Flavors & Fragrances Inc. (IFF) Q3 2022 Earnings Call
  Transcript, Seeking Alpha (Nov. 8, 2022), https://seekingalpha.com/article/
  4554858-international-flavors-and-fragrances-inc-iff-q3-2022-earnings-call-
  transcript.


                                           59
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  noted to its investors that “price increases” had “partially compensated” for higher

  fragrance input costs.130

        134. Similarly, on February 9, 2023, IFF’s CFO Glenn Richter indicated that

  there were price increases in its Scent division.131 Further, despite volume issues in

  other parts of the business, IFF’s new CEO, Frank Clyburn, noted that “in [IFF’s]

  scent business, we feel as though our [sales] volumes are very comparable to peers

  and the competitors.”132

        135. A week later, on February 16, 2023, Firmenich announced that “we

  continued to achieve strong momentum, with robust Revenue growth across the

  [fragrance ingredients] portfolio, supported by strong pricing measures and

  sustained customer demand” and the company is planning to take “further pricing

  actions.”133 On the same day, during the earnings call, Mr. Ghostine, Firmenich’s




  130
        Givaudan SA (GVDBF) Q4 2022 Earning Call Transcript, Seeking Alpha
  (Jan. 25, 2023), https://seekingalpha.com/article/4572304-givaudan-sa-gvdbf-q4-
  2022-earnings-call-transcript.
  131
         International Flavors & Fragrances Inc. (IFF) Q4 2022 Earnings Call
  Transcript, Seeking Alpha (Feb. 9, 2023), https://seekingalpha.com/article/4576967-
  international-flavors-and-fragrances-inc-iff-q4-2022-earnings-call-transcript.
  132
        Id.
  133
        Firmenich Delivers Strong Results in First Half of Fiscal Year 2023,
  FIRMENICH (Feb. 16, 2023), https://www.firmenich.com/company/press-
  release/firmenich-delivers-strong-results-first-half-fiscal-year-2023.


                                           60
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  CEO affirmed the company’s ability to increase prices without hurting sales – “we

  are [] able to combine price increases with sustained demand.”134

        136. A month later, Olaf Klinger, the CFO at Symrise reported on the

  exception of 11.4% sales growth. “Unlike normal years when target a sales split of

  one third pricing and two third volume, ’22 was far from normal. We needed to pass

  through high costs to our customers and were were [] – we were to a large extent

  successful. We achieved around 75% pricing and around 25% volume growth in

  organic.”135 Defendants’ ability to reliably increase prices and volume at the same

  time provides strong circumstantial evidence of their conspiracy.

        137. As alleged above, Defendants signaled and implemented parallel price

  increases throughout the Class Period and were able to do so without losing sales

  volumes or hurting profitability. Such price increases – with respect to magnitude

  and frequency – should not have been possible in a truly competitive commodities

  market because customers (i.e., Plaintiffs and the Class) would have taken their

  business elsewhere in response to rising prices.     Yet, Defendants’ conspiracy


  134
          Firmenich    Half    Year    2023    Earnings   Call   Transcript,
  https://img06.en25.com/Web/FirmenichCorporateCenter1/%7B6cd374b9-a455-
  4446-a591-fa12c5c02f69%7D_Firmenich-Half-Year-2023-Results-
  Transcript.pdf?elqTrackId=7d2e6da218764acc9dd16aa804ee992c&elqaid=450&el
  qat=2.
  135
        Symrise CFO Olaf Kinger on Q4 2022 results Earnings Call Transcript,
  Seeking Alpha (Mar. 8, 2023), https://seekingalpha.com/article/4585801-symrise-
  ag-syief-q4-2022-earnings-call-transcript.


                                          61
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  prevented customers from switching to cheaper alternatives, therefore enabling

  Defendants to achieve price increases consistently – without loss of sales or

  profitability – over several years during the Class Period in the midst of difficult

  economic conditions attributable to the COVID-19 pandemic, supply chain

  disruptions, and inflation.

        D.     Defendants Monitored Their Conspiracy

        138. Price fixing cartels commonly monitor the conduct of the co-

  conspirators. As noted by a Former Deputy Assistant Attorney General, in the

  Antitrust Division, Gary R. Spratling, who was responsible for investigating and

  prosecuting international cartels, cartels “have shared a number of common

  characteristics.”136   On top of agreed-upon volumes, exchanges of otherwise

  competitively sensitive information, and prices charged to customers, a common

  characteristic among cartels includes “sophisticated mechanisms to monitor and

  police the agreements.”137

        139. Through inter-Defendant sales and public statements, Defendants

  monitored their conspiracy. IFF’s public statements during the Class Period strongly

  suggest knowledge of each other’s competitively sensitive pricing and sales


  136
        Gary R. Spratling, Deputy Assistant Attorney General, Antitrust Division,
  U.S. Department of Justice, ABA’s Criminal Justice Section Presentation “Are the
  Recent Titanic Fines in Antitrust Case Just the Tip of the Iceberg?” (Mar. 6, 1998).
  137
        Id.


                                          62
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  information, which is also consistent with the existence of Defendants’ unlawful

  agreement to fix prices. On the February 10, 2022 conference call with investors,

  Andreas Fibig, CEO of IFF, confirmed that IFF was tracking competitively sensitive

  information when he noted that “competitors” were also raising prices and that IFF’s

  price increases were “neck to neck” with IFF’s competitors “in the market.”138 On

  the same call, Mr. Fibig also stated “we actually expect, and what we’ve seen from

  an awful lot of our competitors is everybody is basically implementing the same

  range of pricing in the market.”139 Similarly, Givaudan in its 2022 Integrated

  Annual Report stated that “[m]onitoring of the competitive landscape” is “[h]ow we

  mitigate risks.”140

        E.     Defendants’ Pretextual Reasons for Their Prices Increases

        140. On information and belief, the justifications offered by the Defendants

  — that their price increases were due to increased input costs or increased demand

  — were pretextual and could not fully account for the significant increases in prices

  over the Class Period.



  138
         International Flavors & Fragrances Inc. (IFF) CEO Andreas Fibig on Q4 2021
  results - Earnings Call Transcript, Seeking Alpha (Feb. 10, 2022),
  https://seekingalpha.com/article/4486003-international-flavors-and-fragrances-inc-
  iff-ceo-andreas-fibig-on-q4-2021-results-earnings.
  139
        Id. (emphasis added).
  140
         2022 Integrated Annual Report, Givaudan, at 24 (January 25, 2023), available
  at https://www.givaudan.com/files/giv-2022-integrated-annual-report.pdf.


                                           63
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        141. Defendants’ conspiracy appears to have begun in response to increases

  in the cost of key fragrance inputs, such as petrochemicals, vanilla, and citrus. In a

  normal market, when the cost to manufacture a good increases, it is common for

  some of those costs to be passed on to customers in the form of higher prices. In a

  competitive market, a manufacturer typically cannot pass on to the customer all these

  costs because if prices increase too much, customers will turn to rival competitors

  or stop buying altogether. Apparently, recognizing this fact, Defendants banded

  together to coordinate raising their prices. Once Defendants entered into an illegal

  agreement to fix prices in or around 2018, Defendants continued the cartelized

  pricing conduct throughout the Class Period despite an easing in the costs of raw

  materials.

        142. Inflation surrounding the cost of various raw materials began easing in

  or around 2020. Yet, Defendants continued to cite raw materials as a pretext for

  price increases and actually continued increasing prices. This shows that Defendants

  had the collective power to increase prices without fear that a competitor (i.e., one

  of the co-conspirators) would undercut them – a condition that is unnatural in a

  competitive market. For example, among other instances, IFF disclosed on the

  November 8, 2022 earnings call, that “while we are clearly seeing signs of raw

  material inflation easing, we will continue taking appropriate targeted actions to




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  offset inflation to maintain profitability,”141 suggesting continued price increases

  even after the prices of raw materials stabilized. Indeed, on a February 9, 2023 call

  regarding 2022 Q4 earnings, IFF’s CFO Glenn Richter confirmed that IFF had

  implemented price increases (a “catch up in pricing”) during the fourth quarter of

  2022 in the Scent division.142

        143. Similarly, on January 28, 2022, during a 2021 third quarter earnings

  call, Givaudan’s CFO Tom Hallam observed that “the raw mat[erial]s were basically

  flat over 2021. So there is no reasons or argument to increase prices during, during

  2021.”143 One year later, on January 25, 2023, despite continuous easing in the

  prices of raw materials, Mr. Hallam revealed that as a result of (and despite) “price

  increases,” sales and profit measures increased, indicating that Givaudan continued

  to increase prices despite raw material inflation easing.144

        144. Likewise, demand factors do not justify Defendants’ price increases.

  Regarding demand, U.S. macroeconomic indicators of demand show that hourly




  141
        Q3 2022 International Flavors & Fragrances Inc. Earning Call Transcript,
  supra note 129.
  142
        Q4 2022 International Flavors & Fragrances Inc. Earning Call Transcript,
  supra note 131.
  143
        Givaudan Q3 2021 Results – Earning Call Transcript, Seeking Alpha (Jan. 28,
  2022),       https://seekingalpha.com/article/4482632-givaudans-gvdbf-ceo-gilles-
  andrier-on-q3-2021-results-earnings-call-transcript.
  144
        Givaudan SA, Q4 2022 Earning Call Transcript, supra note 130.


                                            65
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  earnings, personal consumption, per capital real GDP, and unemployment all

  returned to the post-Great Recession trend after recovering from the economic shock

  of the COVID-19 pandemic as the following chart shows:

                                                                          U.S. Demand Indicators
                                                                                 2005-2023
                               140                                                                                                400



                                                                                                                                  350
                               120



                                                                                                                                  300
                               100




                                                                                                                                        Unemploymenr Rate Index
    Base Period January 2018




                                                                                                                                  250

                                80

                                                                                                                                  200

                                60

                                                                                                                                  150


                                40
                                                                                                                                  100



                                20
                                                                                                                                  50



                                -                                                                                                 -




                                               Hourly Earnings, Private Sector           Real Personal Consumption Expenditures
                                               Per Capita Real GDP                       Unemployment Rate



                                     145. None of these developments point to demand as a basis for steep price

  increases for Fragrance Products.

                                     146. Defendants achieved generally consistent price increases with their

  customers, including Plaintiffs and the Class, despite such increases being

  historically difficult to obtain and keep. Defendants, as a result of collusive price-




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  fixing conduct, achieved these price increases even after the cost of raw materials –

  the purported reason for price increases – declined or stabilized.

        F.     Defendants’ Coordinated Parallel Price Increases Substantially
               Improved Their Profitability

        147. Despite the Defendants’ claims that their price increases served only to

  “offset higher costs,”145 publicly available data indicate that many of the Defendants’

  earnings before interest, taxes, depreciation, and amortization (“EBITDA”) and

  gross profits actually increased during the Class Period, in some cases precipitously.

        148. For instance, as shown in the chart below, IFF’s EBITDA surged from

  $160 million in Q4 2017 to $611 million in Q3 2022.146 Givaudan’s EBITDA,

  meanwhile, increased rapidly from $496 million in H2 2017 to $810 million in H1

  2022.147




  145
         Silke Koltrowitz, Givaudan to Accelerate Price Increases as Input Costs Hit
  Margins, REUTERS (July 21, 2022), https://www.reuters.com/business/retail-
  consumer/givaudan-confirms-mid-term-targets-works-pass-higher-prices-2022-07-
  21 (last updated July 21, 2022).
  146
         International Flavors and Fragrances – EBITDA, Trading Economics,
  https://tradingeconomics.com/iff:us:ebitda.
  147
        Givaudan – EBITDA, Trading Economics, https://tradingeconomics.com/
  givn:vx:ebitda.


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        149. Gross profits at IFF and Givaudan also increased over the Class Period.

  For IFF, gross profits rose from $356 million in Q4 2017 to $1 billion in Q3 2022.148

  Givaudan’s gross profits increased from $1.12 billion in H2 2017 to $1.46 billion in

  H1 2022.149




  148
       International Flavors and Fragrances – Gross Profit on Sales, Trading
  Economics, https://tradingeconomics.com/iff:us:gross-profit-on-sales.
  149
         Givaudan     –   Gross    Profit   on     Sales,     Trading      Economics,
  https://tradingeconomics.com/givn:vx:gross-profit-on-sales.


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        150. Givaudan and IFF boasted their ability to record growth while IFF

  continuously raised prices. In 2018, Givaudan highlighted the fact that “Fragrance

  Ingredients sales recorded growth, supported by price increases.”150 The next year,

  they again emphasized that the Fragrance Division obtained “[e]xcellent growth

  driven by the strong performance of new wins and price increases to compensate for

  higher input costs.”151




  150
         Givaudan “2018 Full Year Results” (January                    25,    2019),
  https://www.givaudan.com/files/giv-2018-fyr-presentation.pdf.
  151
         Givaudan “2019 Full Year Results” (January                    24,    2020),
  https://www.givaudan.com/files/giv-2019-fyr-presentation.pdf.


                                          69
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        151. In 2018, IFF had its “strongest improvement in Fragrance Ingredients,

  which grew high-single digits, led by price increases.”152 In 2023, IFF claimed

  “profitability driven by favorable net pricing & productivity” and as a result

  “[d]elivered higher than expected sales and EBITDA in Q3 2023 driven by improved

  volume, favorable price to inflation & productivity benefits.” Even when IFF saw a

  momentary dip in sales volume it was able to keep “margin stable as price increases

  and the benefits of productivity initiatives offset higher raw material costs.”153

        152. Symrise experienced a similar surge in earnings and profits during the

  Class Period despite its claims of rising costs, with EBITDA increasing nearly 50%

  from €631 million in FY 2018 to €922 million in FY 2022.154




  152
         IFF Q4 & FY 2019 Earnings Conference Call (February 13, 2020),
  https://ir.iff.com/static-files/815d3264-3440-4d35-87ed-7c66cdb88a75.
  153
       Third Quarter 2023 Earnings Conference Call, IFF (November 7, 2023),
  (emphasis added), https://ir.iff.com/static-files/e26b794e-c037-4a34-9381-e0361d
  7bf414.
  154
          Financial    Report   2022,     Symrise     (May     10,     2023),
  https://www.symrise.com/newsroom/downloads/index.php/?eID=tx_securedownlo
  ads&p=458&u=0&g=0&t=1707170084&hash=9ef55ac3f2dd93113a2be26ec47dde
  7401a3b5c6&file=/fileadmin/symrise/Downloads_reports/agm/documents/2023/23
  0329-Symrise-AGM-2023-Financial-Report-2022.pdf.


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        153. Over the same period, Firmenich’s adjusted EBITDA rose from 825.5

  CHF to 904.5 CHF, while its unadjusted EBITDA remained flat at around 800

  CHF.155

        154. These increases in volume, EBITDA, and profits during the relevant

  period are inconsistent with the Defendants’ pretextual explanation that their price

  increases merely offset rising costs, and are more consistent with the existence of a

  conspiracy to fix prices.

        G.     Defendants Restrained and Allocated the Supply of Key Fragrance
               Ingredients

        155. During the Class Period, Defendants restrained the supply of fragrance

  ingredients. Defendants agreed to each produce only a specific subset of Fragrance

  Products and not to produce other Fragrance Products produced by their competitors.

  By doing so, Defendants ensured that when customers wanted to make a fragrance

  requiring a specific ingredient, only one or a limited number of Defendants would

  be able to do so. This greatly restrained competition in the fragrance industry and

  allowed Defendants to increase prices above the levels that would otherwise have

  been set by a competitive market.




  155
       Firmenich Annual Report 2022, 31, https://img06.en25.com/Web/Firmenich
  CorporateCenter1/%7B12ed0bb5-85e8-45e3-9d34-e4571c98cc26%7D_220805_
  FIRMENICH_AR_FY22.pdf#page=31.


                                           71
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        156. By reaching this agreement, Defendants were able to nullify the

  competitive effects of Defendants’ ability to reverse-engineer each other’s

  fragrances.   So long as Defendants maintained a significant amount of non-

  overlapping fragrance ingredients, it would not matter if they could reverse-engineer

  each other’s fragrances because they would not have the ingredients to make those

  fragrances. By agreeing not to produce certain fragrance ingredients, Defendants

  restrained their ability to compete with each other by offering lower prices on

  specific fragrances.

        157. The plausibility of Defendants’ conspiracy has been confirmed by

  scholars who have studied the fragrance industry. As one scholar wrote in 2016,

  “Five multinational corporations, four of which originated in Western Europe,

  dominate the world fragrance market. For years this industrial concentration

  fostered a tacit agreement among the industry’s largest players. Under this

  informal understanding, the major fragrance houses would not cannibalize each

  other by manufacturing competing products based on formulas of a competitor

  acquired through reverse engineering.”156 This author went on to describe this

  understanding as a “gentleman’s agreement,” a term also used by Calice Becker —



  156
        Charles Cronin, Lost and Found: Intellectual Property of the Fragrance
  Industry; From Trade Secret to Trade Dress, JIPEL (Feb. 2, 2016) (emphasis
  added), https://jipel.law.nyu.edu/vol-5-no-1-6-cronin/.


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  head of the International Society of Perfumers-Creators (ISPC), whose members are

  predominantly affiliated with Defendants — who has described the industry as

  characterized by “a sort of gentleman’s agreement and unspoken rules.”157

        158. Similarly, two other scholars have remarked on how the leading

  fragrance manufacturers have reached a “non-appropriation consensus” when it

  comes to “olfactory creations” (with one of these scholars making this observation

  in an obscure, non-publicly available French-language source by no later than 2012),

  and have described the fragrance “industry” as “incestuous.”158 At some point, this

  tacit agreement became express. Indeed, Defendants’ own employees and their co-

  conspirators have entered into public affirmations of this agreement not to compete.

  For example, the December 2022 “Perfumery Code of Ethics,” authored by a former

  IFF employee and counting among its signatories current and former employees of

  Defendants and their co-conspirators, states as its first maxim the following: “We

  pledge to create or promote original olfactory forms. Borrowed forms shall have

  their original creators and formula owners named and rewarded. Plagiarism is not

  tolerated.”159 Adherents to the Perfumery Code of Conduct have thus mutually and

  expressly agreed not to compete with one another over their respective fragrance


  157
        Id.
  158
        Guillemin, supra note 18 at 25.
  159
         Perfumery Code of Ethics,             v   23/2022-05    (emphasis    added),
  https://perfumeryethics.org/the-code/.


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  formulas. Likewise, the ISPC espouses a similar sentiment on its website: “We all

  copy and steal like artists – it’s part of the creative process to understand how

  masterpieces are created, but what’s crucial is to know what we do with the copies.

  Have them on the market the way they are - is plagiarism.”160

        159. By only producing a specific subset of fragrance ingredients,

  Defendants ensured that when customers wanted to make a fragrance requiring a

  specific ingredient, only one or a limited number of Defendants would be able to do

  so. For example, Symrise touts itself as the “No. 1 supplier of fragrance raw

  materials,” but it lists only 207 fragrance ingredients on its website. IFF reports 255.

  And Firmenich discloses only 206. Finally Givaudan lists only 176 fragrance

  ingredients. Each Defendant produces well fewer than the full universe of synthetic

  and natural fragrance ingredients that can be used to make fragrances. This limited

  competition in the market for Fragrance Products and, as a result, increased prices.

        160. What is more, Defendants produce different fragrance ingredients

  among the subset of fragrance ingredients that they produce. One could imagine an

  innocent explanation for Defendants producing only a subset of fragrance

  ingredients being that certain ingredients are more difficult to produce (or used less)

  and, therefore, all Defendants produce a similar subset of the overall fragrance

  160
        ISPC Speaks at WPC 2022: Three Goals, PERFUMEURS CREATEURS (Sept. 7,
  2022) (emphasis added), https://www.perfumer-creators.com/en/news/ispc-speaks-
  at-wpc-2022-three-goals-71.


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  ingredients. But that is not the case. Firmenich, Givaudan, IFF, and Symrise all

  publish their fragrance ingredients online. Excluding the fragrance ingredients that

  Defendants have trademarked, each Defendant produces a substantial number of

  fragrance ingredients that the other Defendants do not. For instance, IFF produces

  lavonax, khusinil, meth cyclocitrone, and myrcenyl acetate, but neither Givaudan

  nor Symrise produce any of those ingredients. Similarly, Givaudan produces methyl

  octyne carbonate, jasmacyclene, and isopropyl quinoline, but neither IFF nor

  Symrise produce them (even though they both produce isobutyl quinoline, which is

  chemically similar but distinct from isopropyl quinoline). And Symrise produces

  formyrcenol, dimethyl myrcetone, and ethyl propionate, yet again neither Givaudan

  nor IFF produce those ingredients. These are but a few illustrative examples.

        161. Defendants’ failure to produce these fragrance ingredients is not a result

  of capacity limitations or capital restrictions. Defendants are the largest fragrance

  ingredient manufacturers in the world and, as they themselves explain, use “cutting-

  edge chemistry and biotechnology” to develop their synthetic ingredients in order to

  launch “distinctive, high-performing products.” Indeed, Givaudan explains that its

  research centers “synthesise nearly 2,000 new molecules every year,” even though

  “[o]nly a small number of th[em] end up in [Givaudan’s] perfumers’ palette.”161



  161
        Givaudan, Shaping Tomorrow’s Signature Fragrances with Science, supra
  note 24.


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  Thus, it is clear that Defendants have the capability to produce substantially all of

  the synthetic and natural fragrance ingredients that are used to make fragrances and

  would enable them to offer their customers the full array of fragrance options.

        162. This explanation also comports with COMCO’s statement in the

  aftermath of the dawn raids that it had reason to believe Defendants had “limited the

  production of certain fragrances.” COMCO’s announcement is further evidence that

  Defendants agreed to restrain the market to increase prices above competitive levels.

        H.     Government Authorities Conduct Dawn Raids on Defendants

        163. On March 7, 2023, the EC published the following announcement that

  it had carried out dawn raids at several suppliers and an industry association in the

  fragrances industry:

        On 7 March 2023, the European Commission carried out unannounced
        inspections at the premises of companies and an association active in
        the fragrance industry in various Member States. In parallel, the
        Commission has sent out formal requests for information to several
        companies active in the same sector.

        The inspections and requests for information concern possible collusion
        in relation to the supply of Fragrance Products. Fragrances are used in
        the manufacture of consumer products such as household and personal
        care products.

        The Commission has concerns that companies and an association in the
        fragrance industry worldwide may have violated EU antitrust rules that
        prohibit cartels and restrictive business practices (Article 101 of the
        Treaty on the Functioning of the European Union).

        The Commission has been in contact with the Antitrust Division of the
        US Department of Justice, the UK Competition and Markets Authority
        and the Swiss Competition Commission in relation to this matter and

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        the inspections were conducted in consultation with them. The
        Commission officials were accompanied by their counterparts from the
        national competition authorities of the Member States where the
        inspections were carried out.162

        164. Inspections by the EC are not undertaken casually. Inspections are

  typically done by an order of the EC, and the EC must have “reasonable grounds for

  suspecting an infringement of the competition rules;” “[i]t must be borne in mind

  that the inspections carried out by the Commission are intended to enable it to gather

  the necessary documentary evidence to check the actual existence and scope of a

  given factual and legal situation concerning which it already possesses certain

  information.”163

        165. That same day, the CMA confirmed its participation in the investigation

  and named the Defendants as the subject of that investigation:

        The Competition and Markets Authority (CMA) has reason to suspect
        anti-competitive behaviour has taken place involving suppliers of
        fragrances and fragrance ingredients for use in the manufacture of
        consumer products such as household and personal care products.

        The businesses under investigation by the CMA are: Firmenich
        International SA, Givaudan SA, International Flavours & Fragrances
        Inc, and Symrise AG.

        The CMA has been in contact with the Antitrust Division of the US
        Department of Justice, the European Commission and the Swiss

  162
        European Commission Press Release IP/23/1532, supra note 1.
  163
         Case No. T-135/09, Nexans France SAS v. Comm’n, 2012 E.C.R. 43,
  http://curia.europa.eu/juris/document/document_print.jsf?doclang=EN&text=&pag
  eIndex=0&part=1&mode=lst&docid=129701&occ=first&dir=&cid=663482.


                                           77
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        Competition Commission in relation to this matter, and this
        investigation has been launched in consultation with them.164

        166. The next day, COMCO confirmed its involvement in the investigation

  and provided further details regarding the conduct for which the Defendants were

  under investigation:

        The Swiss Competition Commission (COMCO) has opened an
        investigation in the fragrance sector. There are suspicions that
        producers have colluded.

        COMCO has indications that several undertakings active in the
        production of fragrances have violated cartel law. There are suspicions
        that these undertakings have coordinated their pricing policy,
        prohibited their competitors from supplying certain customers and
        limited the production of certain fragrances. Fragrances are used in the
        manufacture of many products, including in particular cosmetics,
        personal care products, detergents and cleaning products. The
        undertakings involved in the investigation are Firmenich International
        SA (Geneva), Givaudan SA (Geneva), International Flavors &
        Fragrances Inc. (USA) et Symrise AG (Germany).

        Dawn raids were conducted at various locations. These were carried
        out in consultation with other competition authorities, namely the
        European Commission, the US Department of Justice Antitrust
        Division and the UK Competition and Markets Authority.165




  164
        CMA Launches Investigation into Fragrances and Fragrance Ingredients,
  supra note 2.
  165
        The Swiss Competition Commission Press Release, supra note 3 (emphasis
  original).


                                          78
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        167. IFF, Symrise, Givaudan, and Firmenich have all confirmed that they

  are subjects of the investigation.166

        168. On March 7, 2023, Givaudan confirmed the investigation in a statement

  to Reuters:

        “I can confirm that we are part of an industry-wide investigation by
        European and Swiss authorities. As a good corporate citizen, Givaudan
        is fully cooperating with the authorities,” a spokesperson said.167

        169. On March 8, 2023, Symrise released a press release on its website

  confirming the investigation:

        On March 7, 2023, EU cartel authorities have contacted Symrise at their
        headquarters in Holzminden. Together with Swiss, British and
        American authorities, they are investigating possible inadmissible
        agreements in the fragrance and fragrance ingredients sector. These
        investigations are taking place in parallel at all leading companies in
        the industry. Symrise is cooperating fully with the authorities. At
        present, precise details and concrete content on this investigation are
        still pending.168

        170. That same day, Firmenich posted a press release to its corporate website

  stating:

        Firmenich, the world’s largest privately owned perfume and taste
        company confirms that on March 7th, 2023, certain competition

  166
         Patricia Nilsson & Javier Espinoza, Top Four Fragrance Groups Raided in
  Co-Ordinated Antitrust Probe, FINANCIAL TIMES (Mar. 8, 2023),
  https://www.ft.com/content/ebe2087e-198d-40dd-9615-e090facfb99f.
  167
        Chee & Hirt, supra note 79.
  168
         Press Release, Investigations by International Cartel Authorities (Mar. 08,
  2023), https://www.symrise.com/newsroom/article/investigations-by-international-
  cartel-authorities/.


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         authorities commenced an industry wide investigation into the
         fragrances sector. As part thereof, unannounced inspections were
         carried out at its offices in France, Switzerland and the UK.

         Unannounced inspections are a preliminary step in anti-trust
         investigations into suspected infringements of competition rules. This
         does not mean that the company has engaged in anti-competitive
         behavior nor does it prejudge the outcome of the investigation itself.

         Firmenich is closely monitoring the situation and is fully cooperating
         with the investigators. The Company is unable to comment further at
         this stage.169

         171. Firmenich also stated in its 2023 Financial Statements, “On March 7,

  2023, certain competition authorities commenced an industry-wide investigation

  into the fragrances sector. As part thereof, unannounced inspections were carried

  out at the Firmenich offices in France, Switzerland and the UK and Firmenich

  received a subpoena from the Antitrust Division of the United States Department of

  Justice.”170

         172. In a May 10, 2023 SEC filing, IFF acknowledged the investigation and

  disclosed that it had received a subpoena from the U.S. Department of Justice:

         On March 7, 2023, the European Commission (“EC”) and the United
         Kingdom Competition and Markets Authority (“CMA”) carried out
         unannounced inspections of certain of IFF’s facilities. On the same

  169
        Press Release, Firmenich Confirms Anti-Trust Probes into Fragrances Sector
  (Mar. 08, 2023), https://www.firmenich.com/company/press-release/firmenich-
  confirms-anti-trust-probes-fragrances-sector.
  170
        Financial statements 2023: for the year ended June 30, 2023, Firmenich, at 48
  (July 31, 2023), https://www.dsm-firmenich.com/content/dam/dsm-firmenich/
  corporate/documents/firmenich-sa-annual-report-fy2023.pdf.


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        day, IFF was served with a grand jury subpoena by the Antitrust
        Division of the U.S. Department of Justice (“DOJ”). IFF understands
        the EC, CMA, DOJ and the Swiss Competition Commission to be
        investigating potential anticompetitive conduct as it relates to IFF’s
        fragrance businesses.171

        173. In an article published March 8, 2023, a spokesperson for IFF told

  Bloomberg that “they were working closely with the relevant authorities.”172

        174. The subpoena in question was issued by a criminal grand jury. This

  indicates that the DOJ is considering a criminal prosecution against IFF and/or its

  co-conspirators, as reflected in Chapter 3 of the DOJ’s Antitrust Division Manual.

  Section F.1 of that chapter notes that “staff should consider carefully the likelihood

  that, if a grand jury investigation developed evidence confirming the alleged

  anticompetitive conduct, the Division would proceed with a criminal

  prosecution.”173 The staff request needs to be approved by the relevant field chief

  and is then sent to the Antitrust Criminal Enforcement Division. “The DAAG

  [Deputy Assistant Attorney General] for Operations, the Criminal DAAG, and the


  171
       International Flavors & Fragrances, Inc., Quarterly Report (Form 10-Q), at 25
  (May 10, 2023).
  172
         Stephanie Bodoni & Lisa Pham, Fragrance Firms Hit in Europe Suspected of
  Scent Supply Cartel, BLOOMBERG (Mar. 8, 2023), https://www.bloomberg.com/
  news/articles/2023-03-08/fragrance-firms-hit-in-europe-suspected-of-scent-supply-
  cartel#xj4y7vzkg.
  173
         U.S. Dep’t of Just., Antitrust Division Manual, Chapter III § F1, at 82, (5th
  ed., Last Updated April 2015), (emphasis added), https://www.justice.gov/
  sites/default/files/atr/legacy/2015/05/13/chapter3.pdf.


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  Director of Criminal Enforcement will make a recommendation to the Assistant

  Attorney General. If approved by the Assistant Attorney General, letters of authority

  are issued for all attorneys general who will participate in the grand jury

  investigation.”174 Further, “[t]he investigation should be conducted by a grand jury

  in a judicial district where venue lies for the offense, such as a district from or to

  which the price-fixed sales were made or where conspiratorial communications

  occurred.”175

        175. On January 11, 2024, IFF announced that its Chief Executive Officer

  and Director, Franklin K. Clyburn, Jr., would cease to serve as CEO and a director

  of the Board, effective February 6, 2024. Clyburn’s Separation Agreement with IFF

  requires him to acknowledge that IFF is “involved in various proceedings launched

  in March 2023 by certain competition and enforcement authorities in the United

  States, United Kingdom, Switzerland and before the EU Commission . . . and . . .

  may be involved in other procedures conducted by other competition or enforcement

  authorities . . . in other jurisdictions for similar facts. (together, the

  ‘Investigation’).”176 Under his Separation Agreement, Clyburn has to “fully and

  promptly cooperate in good faith with the Company, the Group Companies and their


  174
        Id. at 83.
  175
        Id.
  176
        International Flavors & Fragrances Inc., Current Report (Form 8-K Filing),
  Exhibit 10.1, Separation Agreement and General Release (January 11, 2024).


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  legal counsel in any matter concerning the Investigation” and “in connection with

  any claim or court action brought against the Company or any Group Company in

  whole or in part for any alleged violation of the antitrust laws (‘Derivative Actions’),

  including, but not limited to, providing testimony at trial or deposition, in

  compliance with applicable laws.”177

        176. On top of having to cooperate with IFF, Clyburn’s Separation

  Agreement prohibits him from cooperating with claimants against IFF related to its

  anticompetitive conduct. Clyburn has held his post with IFF since January 18, 2022.

        177. Further demonstrating that Defendants commitment to coordination

  rather than competition, the CMA is investigating Defendants Firmenich, IFF, and

  Givaudan for entering into “No Poach” agreements concerning their employees.

  Specifically, the CMA revealed that it was investigating “unlawful coordination by

  Firmenich International SA, Givaudan SA and International Flavours & Fragrances

  Inc involving reciprocal arrangements relating to the hiring or recruitment of certain

  staff involved in the supply of fragrances and/or fragrance ingredients.”178




  177
        Id.
  178
        Suspected anti-competitive conduct in relation to fragrances and fragrance
  ingredients (51257), Supra note 7.


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   DEFENDANTS’ FRAUDULENTLY CONCEALED THEIR CONSPIRACY

        178. Plaintiffs and the Class had no knowledge of the Defendants’

  anticompetitive conduct alleged herein, or of facts sufficient to place them on notice

  of the claims set forth herein, until, at the earliest, March 7, 2023, when the EC

  announced its investigation into the Defendants and that it was coordinating with the

  DOJ, COMCO, and CMA. As a result, Plaintiffs and the Class did not discover, nor

  could they have discovered through the exercise of reasonable diligence, the

  existence of the conspiracy alleged herein before these revelations. Prior to that

  time, there was insufficient information to suggest that the Defendants were involved

  in a conspiracy to fix prices, rig bids, or allocate the fragrance market. Because

  Plaintiffs could not and did not discover the existence of their claims prior to March

  7, 2023, Plaintiffs’ claims did not accrue until that date at the earliest.

        179. Moreover, the statute of limitation on the claims asserted herein was

  tolled by fraudulent concealment until at least March 7, 2023.                Defendants

  affirmatively and wrongfully concealed their anticompetitive conduct since the

  beginning of the Class Period.

        180. Defendants’ conspiracy was inherently self-concealing. The success of

  the conspiracy depended on the Defendants and their co-conspirators keeping the

  price-fixing and bid-rigging conduct alleged herein secret from customers and




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  government authorities. Accordingly, Plaintiffs reasonably believed they were

  making Fragrance Products purchases in a competitive industry.

        181. Defendants and their co-conspirators also took affirmative steps to

  conceal the conspiracy and carry it out in a manner that would evade detection.

  Throughout the Class Period, Defendants and their co-conspirators effectively,

  affirmatively, and fraudulently concealed their unlawful combination and

  conspiracy from Plaintiffs and the Class. Additionally, the Defendants provided

  pretextual reasons for their price increases that Plaintiffs and the Class reasonably

  relied upon.

        182. Because Defendants’ anticompetitive conduct was both self-concealing

  and affirmatively concealed, Plaintiffs and the Class did not learn or discover the

  operative facts giving rise to their claims until March 7, 2023.

        183. Plaintiffs exercised reasonable diligence. Plaintiffs and the members

  of the Class could not have discovered the alleged conspiracy at an earlier date by

  the exercise of reasonable diligence because of the deceptive practices and

  techniques of secrecy employed by Defendants and their co-conspirators to conceal

  their combination. No information, actual or constructive, was ever made available

  to Plaintiffs and the Class that would have led a reasonably diligent person to

  investigate whether a conspiracy in the market for fragrances existed prior to March




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  7, 2023.179 Plaintiffs and the members of the Class did not discover and could not

  have discovered through the exercise of reasonable diligence, the existence of the

  conspiracy alleged herein until shortly before filing this Complaint.

        184. By virtue of the fraudulent concealment of their wrongful conduct by

  Defendants and their co-conspirators, the running of any statute of limitations has

  been tolled and suspended with respect to any claims and rights of action that

  Plaintiffs and other Class members have as a result of the unlawful combination and

  conspiracy alleged in this Complaint.

        185. Plaintiffs’ claims are also timely under the continuing violations

  doctrine.   Each sale by the Defendants at prices affected by the conspiracy

  constituted a new overt act causing injury to Plaintiffs and members of the Class.

                         CLASS ACTION ALLEGATIONS

        186. Plaintiffs bring this action on behalf of themselves and as a class action

  under Rules 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure on behalf

  of the following class (the “Class”):

        All persons and entities in the United States and its territories who
        purchased Fragrance Products directly from any of the Defendants or


  179
        Indeed, this is further bolstered by the fact that the CMA only announced on
  January 17, 2024 that it had extended its probe of Givaudan, Firmenich, and IFF to
  include allegations that they engaged in further anticompetitive behavior in the form
  of so-called no-poach agreements, i.e., unlawful coordination involving reciprocal
  arrangements relating to the hiring or recruitment of certain staff involved in the
  supply of fragrances and/or fragrance ingredients.


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        their subsidiaries or affiliates during the period at least as early as
        January 1, 2018 until the effects of the conspiracy ceased.

        187. Exclusions from the Class: Specifically excluded from the Class are

  Defendants and their conspirators; the officers, directors, or employees of any

  Defendant or conspirator; any entity in which any Defendant or conspirator has a

  controlling interest; any affiliate, legal representative, heir, or assign of any

  Defendant or conspirator, and any person acting on their behalf. Also excluded from

  the Class are any judicial officer presiding over this action and the members of

  his/her immediate family and judicial staff, and any juror assigned to this action.

        188. While Plaintiffs do not know the exact number of members of the Class,

  Plaintiffs believe the Class size is so numerous and geographically dispersed that

  joinder is impracticable given Defendants’ substantial nationwide presence.

  Members of the Class are readily identifiable from information and records in

  Defendants’ possession.

        189. Common questions of law and fact exist as to all members of the Class.

  This is particularly true given the nature of Defendants’ unlawful anticompetitive

  conduct, which was generally applicable to all the members of the Class, thereby

  making relief with respect to the Class as a whole appropriate. Such questions of

  law and fact common to the Class include, but are not limited to:




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               (a)   Whether Defendants and their co-conspirators engaged in a

  combination and conspiracy among themselves to fix, raise, maintain, or stabilize

  the prices of Fragrance Products;

               (b)   The identity of the participants of the alleged conspiracy;

               (c)   The duration of the alleged conspiracy and the acts carried out

  by Defendants and their co-conspirators in furtherance of the conspiracy;

               (d)   Whether the alleged conspiracy violated Sections 1 and 3 of the

  Sherman Act;

               (e)   Whether the conduct of Defendants and their co-conspirators, as

  alleged in this Complaint, caused injury to the business or property of Plaintiffs and

  the members of the Class;

               (f)   The effect of the alleged conspiracy on the price of Fragrance

  Products during the Class Period;

               (g)   Whether the Defendants and their co-conspirators fraudulently

  concealed the existence of their anticompetitive conduct from Plaintiffs and the

  members of the Class;

               (h)   The appropriate injunctive and related equitable relief for

  Plaintiffs and the Class; and

               (i)   The appropriate class-wide measure of damages.




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        190. Plaintiffs’ claims are typical of the claims of the members of the Class.

  Plaintiffs and all members of the Class are similarly affected by Defendants’

  unlawful conduct in that they paid artificially inflated prices for Fragrance Products

  from Defendants and/or their co-conspirators.

        191. Plaintiffs and undersigned counsel will fairly and adequately protect the

  interests of the Class. Plaintiffs’ claims arise out of the same common course of

  conduct giving rise to the claims of the other members of the Class. Plaintiffs’

  interests are coincident with, and not antagonistic to, those of the other members of

  the Class. Plaintiffs are represented by competent counsel who are experienced in

  the prosecution of antitrust and class action litigation.

        192. The questions of law and fact common to the members of the Class

  predominate over any questions affecting only individual members, including legal

  and factual issues relating to liability and damages.

        193. Class action treatment is a superior method for the fair and efficient

  adjudication of the controversy, in that, among other things, such treatment will

  permit a large number of similarly situated persons to prosecute their common

  claims in a single forum simultaneously, efficiently and without the unnecessary

  duplication of evidence, effort and expense that numerous individual actions would

  engender. The benefits of proceeding through the class mechanism, including

  providing injured persons or entities with a method for obtaining redress for claims



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  that it might not be practicable to pursue individually, substantially outweigh any

  difficulties that may arise in management of this class action.

        194. The prosecution of separate actions by individual members of the Class

  would create a risk of inconsistent or varying adjudications, establishing

  incompatible standards of conduct for Defendants.

                     INTERSTATE TRADE AND COMMERCE

        195. Billions of dollars of transactions in Fragrance Products are entered into

  each year in interstate commerce in the United States and its territories and the

  payments for those transactions flowed in interstate commerce.

        196. Defendants’ manipulation of the market had a direct, substantial, and

  foreseeable impact on interstate commerce in the United States and its territories.

        197. Defendants intentionally targeted their unlawful conduct to affect

  commerce, including interstate commerce within the United States and its territories,

  by combining, conspiring, and/or agreeing to fix, maintain, stabilize, and/or

  artificially inflate prices for Fragrance Products.

        198. Defendants’ unlawful conduct has a direct and adverse impact on

  competition in the United States and its territories.             Absent Defendants’

  combination, conspiracy, and/or agreement to manipulate the market for the sale of

  Fragrance Products, the prices of Fragrance Products would have been determined

  by a competitive, efficient market.



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                                  ANTITRUST INJURY

         199. Defendants’ antitrust conspiracy had the following effects, among

  others:

         200. Price competition has been restrained or eliminated with respect to the

  pricing of Fragrance Products;

         201. The prices of Fragrance Products have been fixed, raised, maintained,

  or stabilized at artificially inflated levels;

         202. Purchasers of Fragrance Products have been deprived of the benefits of

  free and open competition; and

         203. Purchasers of Fragrance Products paid artificially inflated prices.

         204. The purpose of the conspiratorial and unlawful conduct of Defendants

  and their co-conspirators was to fix, raise, stabilize, and/or maintain the price of

  Fragrance Products.

         205. The precise amount of the overcharge impacting the prices of Fragrance

  Products paid by Plaintiffs and the Class can be measured and quantified using well-

  accepted models.

         206. By reason of the alleged violations of the antitrust laws, Plaintiffs and

  the members of the Class have sustained injury to their businesses or property,

  having paid higher prices for Fragrance Products than they would have paid in the

  absence of Defendants’ illegal contract, combination, or conspiracy and, as a result,



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  have suffered damages in an amount presently undetermined. This is an antitrust

  injury of the type that the antitrust laws were meant to punish and prevent.

                                  CLAIM FOR RELIEF

           Violation of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3)
                            (Conspiracy in Restraint of Trade)

           207. Plaintiffs repeat the allegations set forth in paragraphs 1-206 above.

           208. From at least January 1, 2018 until the effects of their unlawful conduct

  cease, Defendants and their co-conspirators entered into and engaged in a contract,

  combination, or conspiracy with regards to Fragrance Products in unreasonable

  restraint of trade in violation of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§

  1, 3).

           209. The contract, combination, or conspiracy consisted of an agreement

  among the Defendants and their co-conspirators to fix, raise, stabilize, or maintain

  at artificially high levels the prices they charged for Fragrance Products in the United

  States and elsewhere.

           210. In formulating and effectuating this conspiracy, Defendants and their

  co-conspirators did those things that they combined and conspired to do, including:

                 (a)   exchanging     competitively    sensitive   information    among

  themselves, with the aim to fix, increase, maintain, or stabilize prices of Fragrance

  Products in the United States and elsewhere;




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               (b)    participating in meetings and conversations among themselves

  during which they agreed to charge prices at certain levels, and otherwise to fix,

  increase, maintain, or stabilize prices of Fragrance Products in the United States and

  elsewhere; and

               (c)    participating in meetings and conversations among themselves to

  implement, adhere, and police the agreements they reached.

        211. Defendants and their co-conspirators engaged in the actions described

  above for the purpose of carrying out their unlawful agreements to fix, maintain,

  raise, or stabilize prices of Fragrance Products.

        212. Defendants’ conspiracy had the following effects, among others:

               (a)    Price competition in the market for Fragrance Products has been

  restrained, suppressed, and/or eliminated;

               (b)    Prices for Fragrance Products provided by Defendants and their

  co-conspirators have been fixed, raised, maintained, and stabilized at artificially

  high, non-competitive levels throughout the United States and elsewhere; and

               (c)    Plaintiffs and members of the Class who purchased Fragrance

  Products from Defendants and their co-conspirators have been deprived of the

  benefits of free and open competition.

        213. Plaintiffs and members of the Class have been injured and will continue

  to be injured in their business and property by paying more for Fragrance Products



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  purchased from Defendants and their co-conspirators than they would have paid and

  will pay in the absence of the conspiracy.

            214. The alleged contract, combination, or conspiracy is a per se violation

  of the federal antitrust laws.

            215. Plaintiffs and members of the Class are entitled to treble damages and

  an injunction against Defendants, preventing and restraining the violations alleged

  herein.

                                 REQUEST FOR RELIEF

            WHEREFORE, Plaintiffs and the Class respectfully request the following

  relief:

            A.    That the Court determine that this action may be maintained as a class

  action under Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure,

  appoint Plaintiffs as representatives of the Class and the undersigned law firms as

  Class Counsel, and direct that reasonable notice of this action, as provided by Rule

  23(c)(2) of the Federal Rules of Civil Procedure, be given to each and every member

  of the Class;

            B.    The Court adjudge and decree that the acts of the Defendants are illegal

  and unlawful, including the agreement, contract, combination, or conspiracy, and

  acts done in furtherance thereof by Defendants and their co-conspirators be adjudged




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  to have been a per se violation of Sections 1 and 3 of the Sherman Act (15 U.S.C.

  §§ 1, 3);

        C.     The Court permanently enjoin and restrain Defendants, their affiliates,

  successors, transferees, assignees, and other offices, directors, agents, and

  employees thereof, and all other persons acting or claiming to act on their behalf,

  from in any manner continuing, maintaining, or renewing the conduct, contract,

  conspiracy, or combination alleged herein, or from entering into any other contract,

  conspiracy, or combination having a similar purpose or effect, and from adopting or

  following any practice, plan, program, or device having a similar purpose or effect;

        D.     That judgment be entered against Defendants, jointly and severally, and

  in favor of Plaintiffs and members of the Class for treble the amount of damages

  sustained by Plaintiffs and the Class as allowed by law, together with costs of the

  action, including reasonable attorneys’ fees, pre- and post-judgment interest at the

  highest legal rate from and after the date of service of this Complaint to the extent

  provided by law;

        E.     That each of the Defendants, and their respective successors, assigns,

  parent, subsidiaries, affiliates, and transferees, and their officers, directors, agents,

  and representatives, and all other persons acting or claiming to act on behalf of

  Defendants or in concert with them, be permanently enjoined and restrained from,

  in any manner, directly or indirectly, continuing, maintaining or renewing the



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  combinations, conspiracy, agreement, understanding, or concert of action as alleged

  herein; and

        F.      That the Court award Plaintiffs and members of the Class such other

  and further relief as the case may require and the Court may deem just and proper

  under the circumstances.

                                    JURY DEMAND

        Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules

  of Civil Procedure, of all issues so triable.

  Dated: February 05, 2024                          Respectfully submitted,

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